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   8                          UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 3:19-cv-01226-L-AHG
       KYLE YAMAMOTO; PWGG, L.P. (d.b.a.
  12   POWAY WEAPONS AND GEAR and                          Hon. M. James Lorenz and Magistrate
  13   PWG RANGE); NORTH COUNTY                            Judge Allison H. Goddard
       SHOOTING CENTER, INC.; BEEBE
  14   FAMILY ARMS AND MUNITIONS LLC                       DECLARATION OF JOHN W.
  15   (d.b.a. BFAM and BEEBE FAMILY                       DILLON IN SUPPORT OF
       ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
  16   POLICY COALITION, INC.; FIREARMS                    PRELIMINARY INJUNCTION
  17   POLICY FOUNDATION; CALIFORNIA                       (Part 2 of 2)
       GUN RIGHTS FOUNDATION; and
  18   SECOND AMENDMENT                                  Complaint Filed: July 1, 2019
  19   FOUNDATION,                                       Second Amended Complaint Filed:
  20                                         Plaintiffs, November 8, 2019
       v.
  21                                                       Date: Monday, December 16, 2019
       XAVIER BECERRA, in his official                     Time: 10:30 a.m.
  22
       capacity as Attorney General of the                 Courtroom: Dept. 5B (5th Floor)
  23   State of California, et al.,
  24                                      Defendants. No oral argument should be heard unless
                                                      ordered by the Court
  25
  26

  27

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                     DECLARATION OF JOHN W. DILLON IN SUPPORT OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
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            EXHIBIT "7"




                                  EXHIBIT 7
                                    0105
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      PROTECTING AMERICA'S SCHOOLS
      A U.S. SECRET SERVICE ANALYSIS
       OF TARGETED SCHOOL VIOLENCE




                                  EXHIBIT 7
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 This report was authored by the staff of the
 U.S. Secret Service National Threat Assessment Center (NTAC)
                                                                                                                                                                                                MESSAGE FROM THE DIRECTOR
                                                           Lina Alathari, Ph.D.                                                                          The U.S. Secret Service has a longstanding tradition of conducting threat assessments as part of its mandate to ensure
                                                                   Chief                                                                                 the safety of this Nation's highest elected officials. Our National Threat Assessment Center (NTAC) is dedicated to
                                                                                                                                                         expanding the field of violence prevention by closely examining the targeted violence that affects communities across the
                                                                                                                                                         United States. As part of this mission, NTAC has maintained a particular focus on the prevention of targeted school
                             Diana Drysdale, M.A.                                       Steven Driscoll, M.Ed.                                           violence. For 20 years, the Center has studied these tragedies, and the following report titled, Protecting America's
                   Supervisory Social Science Research Speciali st               Lead Socia l Science Research Specialist
                                                                                                                                                         Schools: A U.S. Secret Service Analysis of Targeted School Violence. supports past Secret Service research findings that
                                                                                                                                                         indicate targeted school violence is preventable.

                                                                                                                                                         While communities can advance many school safety measures on their own, our experience tells us that keeping schools
                                Ashley Blair, M.A.                                      David Mauldin, M.S. W.                                           safe requires a team effort and the combined resources of the federal, state , and local governments: school boards; law
                          Socia l Science Research Specialist                         Social Science Research Specialist                                 enforcement; and the public. W1th this study. the Secret Service provides an unprecedented base of facts about scl1ool
                                                                                                                                                         violence, as well as an updated methodology and practical guidelines for prevent1on. We encourage all of our public safety
                              Arna Carlock, Ph.D.                                       Jeffrey McGarry, M.A.                                            partners and education partners to review t he information within , and to use it to guide the best practices for maintaining
                          Social Science Research Speciali st                         Social Science Research Specialist                                 a safe learning environment for all children.

                                                                                                                                                         For 150 years. the men and women of the Secret Service have carried out our no-fail mission to protect the Nation 's
                              Aaron Cotkin, Ph.D.                                        Jessica Nemet, M.A.
                                                                                                                                                         leaders and financial infrastructure. Our relationships across the federal. state, and local level have been instrumental
                          Social Science Research Specialist                          Social Science Research Specialist
                                                                                                                                                         to our success. The agency is committed to carrying on this collaborative approach to better protect our children and our
                                                                                                                                                         schools. We are proud to release this report.
                           Brianna Johnston, M.A.                                       Natalie Vineyard, M.S.
                          Social Science Research Specialist                          Soc ia l Science Research Specialist


                           Christina Foley, M.S.W.                                      John Bullwinkel, M.A.
                                          Agent in Charge
                       Assistant to the Spec ia l                                Assistant to the Specia l Agent in Charge




                                 Special thanks to the following for their contributions to the project:


                 Peter Langman, Ph.D.                           Wade Buckland                      Eric B. Elbogen, Ph.D.
                    Psychologist and Author                       Senior Scientist.                 Professor of Psychiatry and
                                                                 Human Resources                     Behavioral Sciences, Duke
                                                                Research Organization              University School of Medicine


                                                          Front Cover:
                                                   FEBRUARY 15-19, 2018
                            Flags flown at half-staff in honor of the victims of the shooting at
                               Marjory Stoneman Douglas High Sc hool in Parkland , Florida


                                                                                                                                                                                                                                                                    ~"']                   ~.._._._a
National Threat Assessment Center
u.s. Secret Service
U.S. Department of Homeland Security
                                                                                                                                                                                                                                                                    U      James M. Murray
November 2019                                                                                                                                                                                                                                                              Director

                                                                                                                                                        The U.S. Secret Service's National Threat Assessment Center (NTAC) was created in 1998 to provide guidance on threat assessment both within the U.S.
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                                                                                                                                                        Secret Service and to others with criminal justice and public safety responsib/IJties. Through the Presidential Threat Protection Act of 2000, Congress
U.S. Secret Service star insignia may not be otherwise reproduced or used in any other manner without advance written permission
                                                                                                                                                        formally authorized NTAC to conduct research on threat assessment and various types of targeted violence; provide training on threat assessment and
from the agency. While permission to reprint this publication is not necessary, when quoting, paraphrasing, or otherwise referring to this              targeted violence; facilitate Information-sharing among agencies with protective and/or public safety responsibilities; provide case consultation on
report, the citation should be: National Threat Assessment Center. (2019). Protecting America 's Schools: A U.S. Secret Service Analysis of             Individual threat assessment invest/garfons and for agencies building threat assessment units; and devefop programs to promote the standardization of
Targeted School Violence. U.S. Secret Service, Department of Homeland Security.                                                                         federal, state, and local threat assessment processes and investigations.


                                                           PROTECTING AMERICA'S SCHOOLS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/2 019                     PROTECTING AMERICA'S SCHOOLS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/2 019




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     EXECUTIVE SUMMARY                                                            •

                   :~:~~-------------------;o:f;th:e;a;tt;a;ck;e;r;s;h;ad                                                                                            received one or more mental health services prior to their attack indicates that mental health
                                                                                                                                                evaluations and treatments should be considered a component of a multidisciplinary threat assessment, but not
                                                                                                                                                a replacement. Mental health professionals should be included in a collaborative threat assessment process that
                                                                                                                                                also involves teachers, administrators, and law enforcement.

                                                                                                                                              Half of the attackers had Interests In violent topics: Violent interests, without an appropriate explanation, are
                                                                                                                                              concerning, which means schools should not hesitate to initiate further information gathering, assessment, and
Ensuring the safety of children at school is a responsibility that belongs to everyone, including law enforcement, school                     management of the student's behavior. For example, a student who is preoccupied or fixated on topics like the
staff, mental health practitioners, government officials, and members of the general public. To aid in t hese efforts, the U.S.               Columbine shooting or Hitler, as was noted in the backgrounds of several of the attackers in this study, may be the
Secret' Service National Threat Assessment Center (NTAC) studied 41 incidents of targeted school violence that occurred                       focus of a school threat assessment to determine how such an interest originated and if the interest is negatively
at K·12 schools in the United States from 2008 to 2017. This report builds on 20 years of NTAC research and guidance                          impacting the student's thinking and behavior.
in the field of threat assessment by offering an in-depth analysis of the mot ives, behaviors, and situati onal factors of t he
attackers, as well as th.e tactics, resolutions, and other..operationally·relevant details of the attacks.                                     All attackers experienced social stressors Involving their relationships with peers and/or romantic partners:
                                                                                                                                               Attackers experienced stressors in various areas of their lives, with nearly all experiencing at least one in the six
The analysis suggests that many of these tragedies could have been prevented, and supports the importance of schools                           months prior to their attack, and half within two days of the attack. In addition to social stressors, other stressors
establishing comprehensive targeted violence prevention programs as recommended by the Secret Service in Enhancing                             experienced by many of the attackers were related to families and conflicts in the home, academic or disciplinary
School Safety Using a Threat Assessment Model: An Operational Guide for Preventing Targeted School Violence. 1 This                            actions, or other personal issues. All school personnel should be trained to recognize signs of a student in crisis.
approach is intended to identify students of concern, assess their risk for engaging in violence or other harmful activities,                  Additional training should focus on crisis intervention, teaching students skills to manage emotions and resolve
and implement intervention strategies to manage that risk. The threshold for intervention should be low, so that schools                       conflicts, and suicide prevention.
can identify students in distress before their behavior escalates to the level of eliciting concerns about safety.
                                                                                                                                              Nearly every attacker experienced negative home life factors: The negative home life factors experienced by
Because most of these attacks ended very quickly, law enforcement rarely had the opportunity to intervene before serious                      the attackers included parental divorce or separation, drug use or criminal charges among family members, or
harm was caused to students or staff. Additionally, many of the schools that experienced these tragedies had implemented                      domestic abuse. While none of the factors included here should be viewed as predictors that a student will be
physical security measures (e.g. , cameras, school resource officers, lockdown procedures). Prevention is key.                                violent, past research has identified an association between many of these types of factors and a range of negative
                                                                                                                                              outcomes for children .
Some of the key findings from this study, and their implications for informing school violence prevention efforts, Include:
                                                                                                                                              Most attackers were victims of bullying, which was often observed by others: Most of the attackers were
        There Is no profile of a student attacker, nor Is there a profile for the type of school that has been targeted:                      bullied by their classmates, and for over half of the attackers the bullying appeared to be of a persistent pattern
        Attackers varied in age, gender, race, grade level, academic performance. and social characteristics. Similarly,                      which lasted for weeks, months, or years. It is critical that schools implement comprehensive programs designed to
        there was no identified profile of the type of school impacted by targeted violence, as schools varied in size ,                      promote safe and positive school climates, where students feel empowered to report bullying when they witness it
        location , and student·teacher ratios. Rather than focusing on a set of t raits or characteristics, a·threat assessment               or are victims of it, and where school officials and other authorities act to intervene.
        process should focus on gathering relevant information about a student's behaviors. situational factors. and
        circumstances to assess the risk of vio len ce or other ha rmfu l outcomes .                                                          Most attackers had a history of school disciplinary actions, and many had prior contact with law enforcement:
                                                                                                                                              Most attackers had a history of receiving school disciplinary actions resulting from a broad range of
        Attackers usually had multiple motives, the most common Involving a grievance with classmates: In addition to                         inappropriate behavior. The most serious of those actions included the attacker being suspended, expelled , or
        grievances with classmates, attackers were also motivated by grievances involving school staff, romantic                              having law enforcement interactions as a result of their behavior at school. An important point for school staff
        relationships, or other personal issues. Other motives included a desire to kill, suicide, and seeking fame or                        to consider is that punitive measures are not preventative. If a student elicits concern or poses a ris k of harm
        notoriety. Discovering a student's motive for engaging in concerning behavior is critical to assessing the                            to self or others, removing the student from the school may not always be the safest option. To help in making
        student's risk of engaging in violence and identifying appropriate interventions to change behavior and                               the determination regarding appropriate discipline, schools should employ disciplinary practices that ensure
        manage risk.                                                                                                                          fairness, transparency with the student and family, and appropriate follow-up.

        Most attackers used firearms_, and firearms were most often acquired from the home: Many of the attackers                             All attackers exhibited concerning behaviors. Most elicited concern from others, and most communicated their
        were able to access firearms from the home of thei r parents or another close relative. While many of the fi rearms                   Intent to attack: The behaviors that elicited concern ranged from a constellatfan of lower-level concerns to
        were unsecured , in severa l cases the attackers were able to gain access to fi rearms that were secured in a locked                  objectively concerning or prohibited behaviors. Most of the attackers communicated a prior threat to their target or
        gun safe or case. It shou ld be furthe r noted, however, that sqme attackers used knives instead of firea rms to                      communicated their intentions to carry out an attack. In many cases , someone observed a threatening
        perpetrate their attacks. Therefore, a threat assessment should explore if a student has access to any weapons,                       communication or behavior but did not act, either out of fear, not believing the attacker, misjudging the immediacy or
        with a particular focus on weapons access at home. Schools, parents, and law enforcement must work together                           location, or believing they had dissuaded the attacker. Students, school personnel, and family members should be
        rapidly to restrict access to weapons in those cases when students pose a risk of harm to themselves or others.                       encouraged to report troubling or concerning behaviors to ensure that those in positions of authority can intervene.

        Most attackers had experienced psychological, behavioral, or developmental symptoms: The observable mental                     A multidisciplinary threat assessment team, in conjunction with the appropriate policies, tools, and training, is the best
        health symptoms displayed by attackers prior to their attacks were divided into three main categories:                         practice for preventing future tragedies. A thorough review of the findings contained in this report should make clear that
        psychological (e.g. , depressive symptoms or suicidal ideation), behavioral (e.g., defiance/misconduct or symptoms             tangible steps can be taken to reduce the likelihood that any student would cause harm, or be harmed , at school.
        of ADHD/ ADD) , and neurological/developmental (e.g., developmental delays or cognitive deficits). The fact that half


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                                                                                                                                                                                  P ROTECTING AMERICA ' S S CHOOLS
                                                                                                                                                                                  A U.S. SECRET SERVICE ANALYSIS
                                                                                                                                                                                   OF TARGETED SCHOOL VIOLENCE




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                 United States Secret Service                                                                                                                      United States Secret Service
                 NATIONAL THREAT ASSESSMENT CENTER                                                                                                                 NATIONAL THREAT ASSESSMENT CENTER
                                                                                                                                                              ,;
                                                   INTRODUCTION
    For the past 20 years, the U.S. Secret Service National Threat Assessment Center (NTAC) has been conducting a                               Since the release of the study in 2002, the findings of the Safe Schoo/ Initiative have informed the targeted violence
    unique blend of operationally relevant and behavior-based research on the prevention of targeted violence in                                prevention efforts of schools and law enforcement across the country. To date, NTAC has delivered over 500 trainings
    various contexts. including attacks targeting public officials and public figures, government fac ilities, workplaces,                      on K-12 school threat assessment to over 100,000 school personnel , law enforcement, mental health professionals,
    public spaces, K·1 2 schools, and institutions of higher education . Ta rgeted violence is a te rm coined~y the Secret                      and others wi th school safety responsibilities. NTAC has further consu lted with individual schools and sc hool districts,
    Service to refer to any inc ident of violence where an attacker selects a particular     t a rg~Qri or   to an attack. Through the          as well as county and state governments, as they developed threat assessment protocols geared toward proactively
    Presidential Threat Protection Act of 2000, NTAC was congressionally autho ri zed to conduct research , training,                           preventing these tragedies.
    consultation, and information sharing on the prevention of targeted violence, and to provide guidance to law
    enforcement, government agencies , schools , and other public safety and security professionals.                                           Th ere is more work to be done.


    Th reat assessment is the best practice for preven ting incidents of ta rgeted violence. It is an investigative approach                    In 2018, two incidents of targeted school violence alone resulted in the tragic loss of 27 students and staff, and
    pioneered by the Secret Service, originally developed as a means to prevent assassinations. A threat assessment,                           serious injuries to 30 more. The February 14, 2018 attack at Marjory Stoneman Douglas High School in Parkland, FL
    when conducted by the Secret Service. involves identifying                                                                                 and the May 18, 2018 attack at Santa Fe High School in Santa Fe , TX prompted school personnel , law enforcement,
    individuals who have a concerning or threatening interest           Key Findings from the Safe Schoo/ Initiative                           government agencies, and others to identify strategies for preventing future attacks. To support these efforts . NTAC
    in the President of the United States or another protected                                    (2002)                                       initiated programs to provide updated research and guidance on threat assessment and the prevention of targeted
    person , conducting an investigation to assess whether or                                                                                  school violence.
                                                                       • Incidents of targeted violence at school rarely were
    not that individual poses a risk of violence or other
                                                                         sudden or impulsive acts.
    unwanted outcome, and then taking steps to manage that             - Prior to mast incidents, other people knew about the                  Th e first phase involved the creation and distribution of an operational
    risk. These cases receive the highest priority of all Secret        attacker's idea and/or plan to attack.                                 guide titled Enhancing School Safety Using a Threat Assessment
    Service investigations, and the agency considers these             · Most attackers did not threaten their targets directly                Model: An Operational Guide for Preventing Targeted School
    investigations to be as important as the physical security          prior to advancing the attack.                                         Violence. Released in July 2018, the guide outlines actionable steps
    measures it employs .                                              · There is no accurate or useful      ~profile ~   of students          schools can take to create multidisciplinary threat assessment
                                                                         who eogaged in targeted school violence.                              teams, establish central reporting mechanisms, identify student
    The Secret Service's threat assessment model has since             · Most attackers engaged in some behavior prior to the                  behaviors of concern, define the threshold for law enforcement
    been adapted to prevent other acts of targeted violence             incident that caused others concern or indicated a                     intervention, promote safe school climates, and identify
    impacting commu nities across the United States. Th ese             need fo r help.                                                        intervention and management strategies for decreasing the risk
    attacks have a profound and devastating impact on those            · Most attackers /Jad difficulty coping with significant                of a targeted attack. Th e guide is available on the Secret
                                                                        losses or personal failures. Moreover, many had
    directly affected and the Nation as a whole, none more so                                                                                  Service public website and was distributed to 40,000 public
                                                                        considered or attempted suicide.
    t han attacks at K-12 schools.' Following the tragedy at                                                                                   school districts and private schools across
                                                                       · Many attackers felt bullied, persecuted, or injured by
    Columbine High School in 1999, the Secret Service                                                                                          the country.
                                                                        others prior to the attack.
    partnered with the U.S. Department of Education on a
                                                                      · Mast attackers 11ad accessJo and had used              weap~
    study that examined 37 incidents of targeted school                                                                                        Th e second phase was to conduct a new research study
                                                                        prior ro the attack.
    violence that occurred from 1974 to 2000. Th e Safe               · Mast attackers demonstrated some interest In
                                                                                                                                               expanding on the Secret Service's previous work in
    School Initiative focused on gathering and analyzing                violence, through movies, video games, books, or                       studying targeted school violence. The report that follows
    information about t he thinking and behavior displayed by           other media.                                                           is the culmination of these efforts and represents the
    the students who committed these violent acts' The                · Most attackers had no history of prior violent or                      most in-depth analysis of targeted school violence to be
    publication of the fina l report and accompanying guide             criminal behavior.                                                     conducted in decades. Protecting America's Schools: A
    provided schools and law enforcement with a fra mework            · In many cases, other students were involved in some                    U.S. Secret Service Analysis of Targeted School VIolence
    for how to identify, assess, and manage students who                capacity.                                                              examines 41 attacks against K-1 2 schools in the
    display such threatening or concerning behavior.                  · Despite prompt law en forcement responses, most                        United States from 2008 to 2017. The report examines
                                                                        attacks were stopped by means other than law                           the background and behaviors of the attackers, In order to inform the best
                                                                        enforcemenr in tervention.                                             practices of multidisciplinary school threat assessment programs nationwide.


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                    United States Secret Service                                                                                                 ~           J United States Secret Service
                    NATIONALTHREATASSESSMENTCENTER                                                                                                ~                  NATIONAL THREAT ASSESSMENT CENTER
                                                                                                                                                             1




    Methodology                                                                                                                                attackers. Information on the behavioral histories of the attackers, however, were only ana lyzed for 35 of the 41 cases
                                                                                                                                               due to the limited information available on the backgrounds of 6 of the attackers.
    Incident Identification
                                                                                                                                               Multiple layers of review were applied to every stage of the project to ensure accuracy and reliability of
    NTAC researchers initiated a systematic review of relevant databases, publications, and public reports. The review                          reported findings.
    snughrto identif'y inciCients of ra rgeted school violence-that occurred in the United States from 2008 to 2017. For
    this study, an incident of targeted school violence was defined as any incident in which (i) a current or recently former'
    R-12 schoolstlident (il) purpose fully   use~po n         (iii) to cause physical injury to, or the death of;-"at least-one oth er
    stuc!IDlt. and/.or school employee (1v) in or on the immediate prQPerty of me school (v) wl1ile targeting in advance one
    or more specific ana/ or random student(s) and/or employee(s).

    Certain exclusions were used in order to focus this project on incidents of targeted school violence. This study doe·s
    QQLiflclude attacks where a perpetrator could not oeide.ntified , or iiiClde"nts related to gang viol~ drug violence , or
    ot11er incidents with a strong-suggestion of a   se parate~crim i na l   nexus. Similarly, it d.oes not include violence from the
    surrounding community...!.129 t spi lled onto school property by happenstance. It also      exc l u~   spontaneous acts, such
    as those that were the immediate result·of an-unplanned fight or other sudden confrontation.


    Because this project was initiated in early 2018, incident identification and collection was lim ited to cases that
    occurred through 2017, thereby allowing researchers to gather the most comprehensive case information for each
    incident. For this reason, the tragedies that have occurred in 2018 and 2019 were not able to be included in
    the analysis.


    Based on the stat ed criteria, researchers identified 41 incidents of targeted school violence , perpetrated by 41 current
    or rece ntly former students. from Janua ry 2008 through      D ecember~2017.



    Case Information

    Information for the 41 identifi ed incidents was drawn largely From primary source materials obtainea by researchers
    related to the incident. Secret Service Field Offices across the United States worked with their local law enforcement
    partners to acquire investigative case files for 36 of the 41 incidents. These files included police investigative records ,
    publicly available court records, and other publicly available information. Th ese source materials may have also
    contained school records and mental health records. Obtained records included interviews with the attackers,
    interviews with witnesses and people who knew the attackers , school transcripts and disciplinary histories, social
    media screen captures, data from the searches of phones and computers used by the attackers, the results of
    searches of the attackers· residences , personal journals and other writings, and court records containing the results
    of mental health evaluations both before and after the attacks. All case examples used in the drafting of thi s report
    were vetted through the agencies who provide the investigative files. Case analysis was further supplemented through
    a rigorous , structured review of open source information , including news articles and reports from government and
    private agencies. NTAC staff considered all available qualitative information to develop data relevant to threat
    assessment and prevention factors for each case. Some data were analyzed and are reported here for all 41 cases,
    including information on how the attacks were executed, school information , and demographic information about the


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    United States Secret Service                                                                                               United States Secret Service
    NATIONAL THREAT ASSESSMENT CENTER                                                                                          NATIONAL THREAT ASSESSMENT CENTER




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 PART 1: OVERVIEW OF TH E ATTACKS                                                                                                                                       School Security & Prevention Measures

School & Community Information                                                                                                                                          Most of the schools (n   = 33, 80%)   in this study implemented some type of physical security measure, and two-thirds
                                                                                                                                                                        (n = 27. 66%) had fu ll- or part-time school resource officers (SROs) on campus.
SCHOOL TYPES: All but two of the attacks occurred in public schools (n = 39, 95%). Nearly three-quarters of the
attacks were carried out at high schools (n = 30, 73%), which are defined in this report as any school that reaches                                                     PHYSICAL SECURITY MEASURES: The most freque ntly used physical security measure was school lockdown
12th grade. Nine attacks took place at middle schools (22%), and one attack occurred at an elementary school (2%).                                                      procedures, present in at least 28 (68%) of th e schools where an attack took place. Fourtee n (34%) schools had
One additional attack occurred at a K-11                                                                                                                                security ca meras, which were located either inside or outside of the
                                                                                                     SCHOOL TYPE
school (2%).                                                                                                                                                            schools. Seven (17%) had alert systems. which were used to notify
                                                                                                                                                                                                                                                                     Physical Security and
                                                                                                                                                                        members of the school community of emergencies via automated                                  Threat Assessment
                                                                                Other School 2%
COMMUNITIES: Approx imately one-third (n = 14,                                                                                                                         text messages or phone calls. Three (7%) school s had
                                                                                                                                                                                                                                                        When the Safe School Initiative was published in 2002,
34%) of the attacks occurred in schools located in                         Elementary School 2%                                                                         magnetometers, but they were not regularly used. Six (15%) schools
                                                                                                                                                                                                                                                           it stated tha t ~the Secret Service considers lhreat
suburban communities , while 11 attacks occurred                                                                                                                        employed private security guards , who were usually unarmed.
                                                                                                                                                                                                                                                        assessment to be as important co preventing targeted
in cities (27%). Ten incidents we re carried out in                                                                                                                                                                                                      violence as the physical measures it employs." The
rura l schools (24%), and the fewest attacks took                                                                                                                      SCHOOL RESOURCE OFFICERS: At the time of the attacks, nearly                      Secret Service protects our Nation's highest elected
place in small towns (n = 6, 15%).5                                                                                                                                     half of the schools (n = 19, 46%) had one or more fu ll-time SROs.                   officials usfng physical security measures in
                                                                                                                                                                       An additional eight schools (20%) had an SRO who operated at the                    conjunction with. and complimented by, a threat
                                                                                                                                                                       school part-time, because they were assigned to multiple schools                     assessmenr approach designed to proactively
                                                             -                                                                                                         within the district.                                                              intervene with those individuals who intend to cause
   Student /inrollment                                                                                          Percentages may nor rora/100 due to rounding.
                                                                                                                                                                                                                                                          harm. This complimentary approach to protection
   < 500                              9                22%
                                                                                                                                                                       REPORTING TOOLS: Only seven (17%) schools had any type of                        recognizes that either of the approaches, alone, would
   500-999
                                                                 SCHOOL SIZE: Over half (n   = 24, 59%) of the attacks took             place at
                                     15                37%                                                                                                                                                                                              not constitute the most effective means of preventing
                                                                 schools with fewer than 1,000 students , and 17 (41%) occurred at                                     system in place to notify school staff or administrators of
   1000-1499                         8                 20%                                                                                                             threatening or concerning student behaviors before an attack.                                             an attack.
                                                                 schools with 1,000 students or more. Over one-third of the attacks took
   1500+                             9                 22%       place at schools with between 500 and 999 students (n = 15. 37%).                                     These systems usually involved a phone number, email address, or
   Percenta~es   may not rora/100 due 10   rotmdln~.                                                                                                                   a paper referral through wh ich t he school could be contacted. At the
                                                                                                                                                                       time of the incidents, few states had
                                                                                                  Teacher to Pupil Ratios
CLASS SIZE: Teacher to pupil ratios also varie d am ong the impacted                                                                                                   implemented comprehensive statewide reporting                                     Safe2Tell™ Colorado
                                                                                                  1:9 to 1:14                      13             32%                  programs, like Safe2Teii'M Colorado.
schools, with eight of the schools (20%) at t he nati onal average of 1 :1 5
                                                                                                                                                                                                                                 Safe2Tell is a statewide, anonymous reporting tool, which accepts tips 24/7
to 1 :1 6. One-third (n = 13, 32%) had lower ratios than t he average, and                        1:15 to 1:16*'                   8              20%
                                                                                                                                                                                                                                  regarding any concern of safety to self or others. Every rip is evaluated by
20 schools (49%) had higher ratios. Th e highest rat io was 1 teacher for                         1:17 to 1:19                     9              22%                  ASSESSMENT AND INTERVENTION PROTOCOLS:
                                                                                                                                                                                                                                  Safe2Tell analysts at the Colorado Information Analysis Center (CIAC). then
every 26 students .'                                                                                                                                                   Nine (22%) schools had some type of program
                                                                                                  1:20 to 1:26                    11              27%                                                                            disseminated to schools and focal law enforcement as appropriate. Built-in
                                                                                                                                                                       involving employees who were assigned to
                                                                                                  ·National a~erage                                                                                                                accountability ensures that every tip is responded to before a case can
                                                                                                  Percentages may nor rora/100 due 10 rounding.                        assess unwa nted or potent ially harmful student                                           be closed.
                                                                                                                                                                       behavior. For some of these schools, they had
                                                                                                                                                                                                                                 During the 2018-2019 school year. 19,861 Ups were received by Safe2Tell.
                                                                                                                                                                       developed basic protocols for assessing and
                                                                                                                                                                                                                                  The most common tips received were related to student suicide, drug use,
                                                                                                                                                                       res ponding to reports of a student th reat. In
                                                                                                                                                                                                                                                                 and bullying.
                                                                                                                                                                       others, school staff created more fo rmal threat
                                                                                                                                                                                                                                    For states that would like to implement this type of reporting program.
                                                                                                                                                                       assessment teams, but t he part icipation ,
                                                                                                                                                                                                                                              Safe2Tell provides information and resources at:
                                                                                                                                                                       t raining, and protocols of these teams varied.
                                                                                                                                                                       Th e Secret Service recommends that schools                                            www.safe2tell.org
                                                                                                                                                                       implement mult idisciplinary school threat

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    assessment teams in accordance with Enhancing School Safety Using a Threat Assessment Model: An Operational                                              BREAKS IN ATTENDANCE: Incidents occurred most                                              ------                                                           1
    Guide for Preventing Targeted School Violence. This framework is intended to help schools develop the capacity to                                        frequently at the start of the school year (Sep) or                                      Incidents Over Academic Year
    identify, assess, and manage students who are displaying concerning or threatening behaviors. This process should                                        after students returned from winter break (Jan).                         10                                                                                 I
    complement the physical security measures that a school determines is appropriate for its community.                                                     Seventeen attacks (41%) took place within the                                        8                     8


    Weapons Used
                                                                                                                                                             firs t week back to school following a break In
                                                                                                                                                             attendance, including suspensions, school
                                                                                                                                                                                                                                           --~.~~ ---.~-----------
                                                                                                                         WEAPON USED'                        holidays , or an absence due to illness or truancy.
    Most-of the attackers (n = 25 . 61%) used firearms . which included handguns , rifles , and                                                              Nearly one quarter of the attacks (n = 10, 24%)
    shotguns. In total, attackers used 18 llandguns and 9 long guns         dur~ng   the attacks ,                                                           took place on the first day that the attacker
    With two attackers using mu ltiple firea rm s. Th e rema inder (n = 16, 39%) used bladed                                                                 returned to school after an absence. In two of                                Aug Sep Oct Nov Dec Jan Feb Mar Apr May Jun
    weapons, which most frequently included pocke t or folding knives. fo llowed by butcher                                                                  these incidents. the attacker was actively                                                           Winter                                    End
    or kitchen knives, and hunting knives. In one instance, the attacker used a World War                                                                    suspended from the school at the time of the
    II bayonet. Three of the attackers used a combination of weapons to cause harm or                                                                        attack. These findings suggest that schools should
    damage , including one who used a knife and a claw hammer, another who used a knife                                                                      make concerted efforts to faci litate positive student engagement following discipline, including suspension s and
    and bo staff, and another who used a firearm and a Molotov cocktail.                                                                                     expulsions, and especially within the fi rst week that the student returns to school.
                                                                                                                 111reeattackersals!lusedanotl1er
                                                                                                                 weaponlndudlngahammer, a boslilff,
    Several of the attackers brought other weapons to the attack that they did not                               andaMolo!ovcockt:IR.                             A 14-year-old student fatafly stabbed a classmate at the middle school they both attended. At the t;me of the incident, the
    ultimately use. Some brought knives in addition to the firearm or knife that was used ,                                                                       attacker was suspended for truancy. Despite the suspension, witnesses reported seeing him walking the school's hallways In
    while others brought items ranging from a wrench wrapped in a bandana to home-made explosives. For example, one                                               search of the target shortly before the stabbing took place.
    attacker who used a knife in his attack also brought five other knives, a blowtorch, three containers of flammab le
    liquid, and firecrackers .                                                                                                                               Four attacks (10%) occurred on the first day back from a regu larly scheduled school holiday . Of those, three took place
                                                                                                                                                             on the first day fo llowing an extended break, including the summer, fa ll , and winter holidays.
    Timing & Location
                                                                                                                                                                                                                                                                            DURATION OF THE ATTACKS
                                                                                                                                                                  A 15-year-o/d studen t shot and wounded a random classmate in the high school cafeteria
    TIMING OF THE ATTACK: The 41 attacks occurred with                                       Incidents by Year                                                    on the first day of the school year. The attacker had planned the attack over the last week
    varying frequency from year to year and do not appear to         :1.0                                       8                                                 of his summer break. On the morning of the Incident, he shared a m essage on socia l media
    be steadily increasing or decreasing. While these                  8                                                                                          stating, "First day of school, fast day of my   life .~   The shooting took place four hours later.
                                                                              5

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    incidents comprise only some of the acts of violence
    that occur in K-12 schools each year, data from the CDC           ~
                                                                      0
                                                                                           1- - = 2                                                          DURATION OF THE ATTACKS: Most of the attacks (n                    = 34, 83%) lasted five minutes
                                                                                                                                                             or less. Two-thirds of the incidents (n = 28, 68%) lasted for two minutes or less , and
    regarding all school associated vio lent deaths similarly
                                                                             2008 2009 2010 20ll 2012 2013 2014 2015 2016 2017
    does not show a steady increase or decrease.8                                                                                                            nearly half of the attacks (n = 18, 44%) ended within one minute. Only six of the
                                                                                                                                                             attacks (15%) lasted longer than five minutes, and none of the attacks lasted longer

    Incidents in the current study took place in every month except July and                                                                                 than 15 minutes•
    occurred on every day of the week except Sunday. The one incident that                                                                                                                                                                                              Percentages may nOI /01111100 due to rounding.

    occurred on a Saturday took place outside of a school prom.                           Before School .............................. 10 (24%)              LOCATION OF THE ATTACKS: The attacks usually started and ended

    Three-quarters of the attacks were carried out before the school day                  Morning Classroom Hours ......... 20 (51 %)                        in the same location (n = 36 , 88%). The most common locations of

    began (n = 10, 24%) or during morning classroom hours (n = 21, 51%).                  During Lunch .................................... 3 (7%)           attacks were in classrooms and immediately outside of the school.                                     Locations of the Attacks
                                                                                          Afternoon Classroom Hours ......... 6 (15%)                        Other locations included cafeterias . hall ways. and administrative                             Classroom         Outs ide              Office
                                                                                          Outside School Hours ...................... 1 (2%)                 offices. Attacks in restrooms, locker ro oms, a gymnasium , and a                               Cafeteria         Hallway            Restroom
                                                                                                                                                             vestibule were less common .                                                                  Locker Room            Gym             Vestibule



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                                                                                                                                                           "'
Response Times                                                                                                                              Resolution & Harm

SCHOOL OFFICERS: In 27 cases (66%), a security officer or SRO was assigned to the school on either a full- or part-                         ATTACK RESOLUTION: Half of the attackers (n...= 21, 51%) ended the.attack Without"any external -intervention. Seven
time basis. During 20 of the attacks (49%), the officer was on duty at the school . In over one-quarter of the cases                        attackers (.17%) committed suicide, six (15%) left the scene, three (7%) surrendered to a school official(s). three (7%)
(n = 12, 29%) , the officer or SRO was able to make it to the scene of the attack within one minute. In three of the                        dropped their weapons and waited to be arrested,            one (~    stO[J_[:J<'d and called fa_IIl]Jy, and one atta cker (2%) left the
attacks (7%), it took between one and five minutes for the officer to respon d. and for two attacks (5%) , it took between                  scene before calling fami ly.
five and ten minutes . Of note, in two cases the officers themselves were the targets of the attacks, and in the
remaining , it was not possible to determine the response time based on information that was available.                                     Non-law enforcemen t.adult school staff b.rought nine attacks (22%) to an end. This included teachers, guidance
                                                                                                                                            counselors, an assista nt principal, a sports coach, a campus supervisor, and a janitor. Six of the attacks (15%) were
OUTSIDE LAW ENFORCEMENT: In j ust over one-third of the attacks (n        = 16, 39%), outside   law enforcement were                        ended with law enforcement intervention , either by SROs (n = 5, 12%) or by local police who were already on campus
notified withi n one minute or less from t he start of t he attack. and in just under one-thi rd (n   = 12. 29%). outside   police          (n   = 1 , 2%). Two of the attackers were killed     by the law enforcement res ponse . No attacks were ended by outside law
were not ified between one and five minutes after the start of the attack. In nine cases, it took longer than five minutes                  enforcement agencies responding to the scene from off campus. Other attacks ended due to student bystander
for someone to notify outside law enforcement, and in fou r cases the timing could not be determined from                                   intervent ion (n = 4 , 10%) or a weapon malfunction (n = 1 , 2%).
info rmation available.
                                                                                                                                            HARM:     N inety~ght   victims were harmed in the 41 attacks, including 7l!.injured                   PERSONS INJURED OR KILLED

In nearly one-third of the cases (n = 13, 32%). it took external first responders between one and five minutes to arrive                    and 19 killed. Th e victims included students, school staff. and law enforcement."
                                                                                                                                                                                                                                                           Law Enforcement
on scene after the attack was initiated, and in about a quarter of the cases (n = 11, 27%) first responders arri ved                       One stabbing inci dent-accounted for 20 of the 98 victims, a ll of whom were injured
                                                                                                                                                                                                                                                                 2%
between five and ten mi nutes after the attack began. In only one case, outside law enforcement were able to respond                       but survived. In just over half of the attacks (n = 22, 54%). on ly one individual was
in one minute or less, because officers were already at the school conducting K-9 drug sweeps at the time of                                harmed. In the remaining attacks, two persons were harmed (n              = 9, 22%). or three
the attack.                                                                                                                                or more were harmed (n        = 10, 24%).

                                                                                                                                                  TWENTY VICTIMS: A 16-year-old student randomly slashed and stabbed people at his high
                                                                                                                                                  school using two kitchen knives he had brought from home. Nineteen students and on e
                                                                                                                                                  staff member were Injured, but all survived. The attack ended after about five minutes
                                                                                                                                                  when the assistant principal tackled the assaflant.




                                                                                                                                                                                                         Mass Attacks
                                                                                                                                                  The defimtion of a ~mass att.ack, ~as used by the U.S. Secret Service m ils Mass Attacks In Public Spaces report series.
                                                                                                                                                   Includes harm (e.g., Injury or dea l h) to three or more persons, not Including the attacker. About one-quarter of atlacks
                                                                                                                                                                           (n   = 10, 2496) In this study would meet that   definition of a mass attack.




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Judicial Outcome                                                                                                                                                              PART II: THE ATTACKERS
CRIMINAL CHARGES: Thirty-two attackers (78%) were criminally charged,                                                             GENDER. RACE, & AGE: While the attackers were predominantly male (n = 34. 83%), seven of the attackers were fe-
twenty-two of whom (54%) were charged as adults. Nearly all of those                                                              male (17_%). Based on police report designations . approximately two-thirds of the attackers (n = 26 . 63%) were W11ite ,
charged as adults accepted plea agreements (17 pled guilty; 2 pled no                                                             six were BlacK.(15%) , and two were Hispanic (5%). Their ages ranged from 12 to 18. with an average age of 15.
contest). Only two cases went to trial. where both attackers were found
guilty and sentenced as adults. A third attacker is still awaiting trial in                                                            YOUNGES T: A 12-year-old student opened fire at his middle school. He kflled one teacher and Injured
                                                                                                                                                                                                                                                                         GENDER
adult court.                                                                                                                           two classmates before fatally shooting himself. The attacker had a history of being bullied and felt
                                                                                                                                       mistreated by students and teachers.
Twelve attackers were processed through the juvenile justice system.
Of those charged as juveniles, the majority pled to their charges (9 pled                                                              OLDEST: An 18-y,ear-o/d farmer student, who lmC1 graduated the year prior, opened fire outside of his
guilty; 1 pled no contest).                                                                                                            old high school toward a group of students exiting the prom. Two of the students were shot and
                                                                                                                                       injured. Local police were already on scene conducting drug sweeps, and instructed the attacker to
CURRENT DISPOSITIONS: Twenty-two of the attackers (54%) are                                                                            drop his weapon. When the attacker failed to comply with pollee Instructions, he was fatally shot by
currently incarcerated, and one attacker is a patient at a mental health                                                               one of the officers. The attacker believed that his ex-girlfriend and her new boyfriend were attending
facility. Eight attackers (20%) have been released from juvenile and/ or                                                               the prom together. but neither was actually In attendance.
adult correctional institutions.u




                                                                                                                                                             Categories consistent with the U.S. Department of Education guidance on the
                                                                                                                                                             collection t.. Reponing of racial t.. ethnic data. (72 Fed. Reg. 59267 Pub. Oct 2002.)




                                                                                                                                 GRADE LEVEL: The grade levels of th e attackers                                               Grade level of the Attackers
                                                                                                                                 ranged from 7th grade to 12th grade.                                       10




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                                                                                                                                 FORMER STUDENTS: Four of the attackers (10%)
                                                                                                                                 targeted schools in which they were no longer
                                                                                                                                 enrolled as students. They included a student who                                  7th       8th       9th      1oth   llth   12th   Former    Unknown
                                                                                                                                                                                                                                                                      Student
                                                                                                                                 attacked his former high school after transferring
                                                                                                                                 to an alternative school; a student whose mother
                                                                                                                                 withdrew him from school because he was about to be expelled; a student who had graduated the previous year, but
                                                                                                                                 was worki ng at the school as a teacher's assistant and occasionally performed wi th the school marching band; and a
                                                                                                                                 middle school student who attacked his former elementary school.

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     Motives                                                                                                                                         MULTIPLE MOTIVES: An 18-year-o ld student shot and killed      a classmate he encountered immediately upon entering his school.
                                                                                                                                                     He then sought out the debate team coach, who escaped, before the attacker killed himself. The attacker appeared to have been

     When determining motives, all available information about each attacker's thinking and behavior in the time leading                             prlmarify motivated by a grievance with the debate team coach, who had removed him from            a captain position    on the debate

     up to the attack was considered, including explicit explanations of motive that the attackers provided through verbal                           team. Additional motivations appeared to Include grievances with other staff members and classmates, a sadistic desire to hurt

     statements made before the attack, in suicide notes or manifestos, and during post-incident interviews with                                     other people, and suicidal ideations.

     law enforcement.
                                                                                                                                                 GRIEVANCES: For most of th e attackers (n = 34, 83%) , reta liating for a grievance played a role in their motive. For
     Consistent with other forms of targeted violence, the motives behind these 41 school attacks varied widely and were                         nearly two-third s of the attackers (n = 25, 61%), it appeared to be their primary motive.
     based on the personal perceptions and experiences of the attackers . Most attackers had multiple motivations for
     carrying out their attacks. This analysis indicates that a student's motive to carry out a violent act at school is                         • Peers: Most frequently, grievances involved classmates (n            = 26, 63%), and these peer grievances were               usually
     usually multifaceted and is the byproduct of the student's individual circumstances, as well as their personal                                related to bullying in some way (n = 19, 46%). Other examples of peer grievances that did not involve bullying
     perception of those circumstances.                                                                                                            included ongoing conflicts and contentious relationships between students, or anger over a specific event or
                                                                                                                                                   situation among classmates .


                                                                                                                                                      A 14-year-ofd student fatally shot a classmate at his middle school. The victim had been the subject of harassment by the
                                                                                                                                                      attacker and other students, who would call the victim derogatory homophobic names. The attacker later reported that the
                                                                                                                                                      victim had made comments that made him uncomfortable, citing them as "the final          straw~   in his decision to attack.


                                                                                                                                                 • Staff: In a quarter of the attacks, the attacker had a grievance that involved school staff (n = 10, 24%) . For
                                                                                                                                                   four attackers (10%), this grievance with teachers or administrators was the primary motivation . In each of those
                                                                                                                                                  fou r incidents, the school staff members were specifically targeted in the attack.


                                                                                                                                                      A 16-year-old student fatally stabbed his high school principal. According to his confession after the incident, the attacker
                                                                                                                                                      began planning his attack on the principal three months earlier, after he learned that he would be returning to the same high
                                                                                                                                                      school for 11th grade. He stated that the school principal made him the most angry, and he         ~didn't   like the school and didn 't
                                                                                                                                                      want to attend there   anymore.~    He was also angry at having to folfow school rules, for example, when the principal repeatedly
                                                                                                                                                      made him tuck In his shirt.


                                                                                                                                                • Romantic: Nine cases (22%) involved a grievance related to a romantic relationship as a primary or secondary
     All but two of the 41 attackers had an identifiable primary motive, defined as the motive that appeared to most
     strongly contribute to the attacker's decision to act violently. Most of the attackers (n = 35, 85%), however, had at                        motive. Two of these cases involved fema le attackers , while seven involved male attackers.

     least one additional secondary motive that contributed to their decision for carrying out the attack.
                                                                                                                                                      A 15-year-old student fatally shot   a former romantic partner outside   of their high school before committing suicide. The
                                                                                                                                                      students had dated for over two years, but the victim llad recently Informed the attacker that the relationship was ending.
         SINGLE MOTIVE: A recen tly suspended 14-yea r-old student fatalfy stabbed a classmate In the chest as he exited his middle
                                                                                                                                                      According to media reports, tile attacker also llad a history of suicidal Ideations and depressive symptoms. In redacted
         school. The students had been friends, but due to frequent connlcts, their relationship had deteriorated. The victim of the
                                                                                                                                                      versions of the notes released publicly, the attacker expressed anger at tile victim for wasting the attacker's money, time,
         stabbing had previously threatened, harassed, and bullied the attacker. The attacker grew to fear for his life and stopped
                                                                                                                                                      affection, and "so much   more.~   The attacker also wrote, "we planned our future together," adding, "This week has been tile
         attending school in order to avoid the victim, which led to the attacker's suspension for missing class. The attacker later
                                                                                                                                                      worst in my life," and, "All of this has destabilized me."
         reported that he had been motivated by fear, stating that ff he had not returned to school to stab his classmate, he believed
         that he would have been killed himself.




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       • Other Persona/Issues: Six students (15%) were motivated by other personal issues, and for two (5%), it was their                                     FAME/ NOTORIETY: Four students (10%) were motivated by a desire for fame or notoriety as a primary or secondary
        primary motive. These personal issues involved things like anger over a fai led drug test at school and reta liating for                              motive. Each of these fo ur students expressed a desire to emulate previous mass attackers. including those who
        abuse or neglect occurring at home.                                                                                                                   perpetrated the attacks at Columbine High School, Virginia Tech , and Sandy Hook Elementary School.


            A 14-year-old student opened fire toward random classmates In his hfgh school cafeteria. Two students were shot                                          A 14-year-o/d student opened fire at his SRO In an effort to steal the officer's weapon. He Intended to use the
            and Injured, and two other students received minor injuries, possibly when struck by shrapnel. The attacker later                                        officerS firearm to perpetrate a mass shooting at his high school. The officer was burn ed by the discharging firearm. but was
            stated his motive was attributed to his troubled home life, Including a distant relationship with his mother, con flic ts                                able to detain the student before further harm occurred. Three months prior, the attacker began keeping an extensive journal
            with his father. and an addiction to Adderall.                                                                                                           about his plans, in which he described his resea rch into the attacks at Columbine High Schaal and Virginia Tech. He wrote
                                                                                                                                                                     about his desire to be   "worshipped~   like previous attackers, adding,   ~,   hope to out-do my Idols and leave my mark on the
      DESIRE TO KILL: The second most prevalent motive among student attackers (n = 15, 37%) was a desire to kill,                                                   world." He wro te about how he hoped that security camera footage of his attack would be on YouTube for his           "followers ~   to
      evidenced by a sadistic interest in violence or violent topics, a desire for power over their victims, or the expectation                                      study. After the attack. while In juven ile detention, the student continued to express interest in the media coverage of his
      of j oy or pleasure in causi ng physical harm to others. For seven attackers (17%) , this appeared to be their primary                                         attack, asking staff at the detention center if he could read the comments posted by readers of the online news articles.
      motive, and eight additional students (20%) experienced these types of thoughts as a secondary motive. Nearly all
      attackers were primarily motivated by a desire to kill targeted random victims (see Appendix A: Statistical Analyses).                                  PSYCHOTIC SYMPTOMS: Five students (12%) appeared to be motivated by psychotic symptoms , either as a primary

      While it is possible that a desire to kill could be associated with psychological symptoms, it more often appeared to                                   or secondary motive. These cases involved such symptoms as auditory hallucinations instructing the student to hurt
      develop as a response to the student's personal circumstances and life experiences.                                                                     people, compulsive homicidal thoughts and visions , and a delusional belief that the student was in a romantic
                                                                                                                                                              relationship with a classmate.
            A 1.5-year..(}/d student fatally shot a classmate at his high school. The attacker had been In previous conflicts with the victim ,
            but he also displayed    a fascination with causing physica l harm to others. A few days before the attack, the attacker showed                         A 1.5-year-old student randomly stabbed two classma tes        in a high school restroom . Both victims survived the attack. Th e
            a handgun and ammunition to classmates, highlighting that "'these bulfets bounce around inside of your           body. ~   He was also                  attacker had a history of homicidal a nd suicidal thoughts, thoughts of violence towards her family and girls at school, and had

            overheard saying that he was Interested In seeing what It felt like to kill someone. During hfs subsequent trial, a clinical                            previously th reatened    to stab a friendS boyfriend. According to court records, six m onths prior to the attack, she was admitted
            psychologist said that the attacker had been -born to violent addicts, shoved into abusive foster homes, and largely Igno re d                          to an outpatient hospitalization program for her m ental health. One counselor asked the attacker if she had suicidal or

            by courts and    casewo rke rs.~
                                                                                                                                                                    homicidal ideations, and she responded, "Sometimes I get really sick thoughts. Sick ways of killing them, stabbing them,
                                                                                                                                                                    slitting their throats, sexually abusing people at school...

      SUICIDAL: Seventeen attackers (41%) were motivated by suicide to carry out their attacks. For three attackers (7%),
      this appeared to be their primary motive, only one of whom appeared to be motivated by suicide alone. An additional                                     Targeting
      14 attackers (34%) had suicidality as a secondary motive. These findings revea l that suicidal ideations were rare ly the
                                                                                                                                                              In all fo rms of targeted violence, the targeted person or persons are usually selected by the attacker in relation to his
      sole or primary factor in an attacker's motivation for violence. Suicidal ideations were more typically found in
                                                                                                                                                              or her motive. For example, if an attacker has a grievance with a specific person or group, they may target that person
      combination with, and secondary to, other motives.
                                                                                                                                                              or group during the attack. In many of those cases, however, additional bystanders may be injured or killed , either as
                                                                                                                                                              unintended collateral victims or as victims of opportunity. tn other instances, the attacker may indiscriminate ly target a
           A 1 6 -yea r-old student intended to commit suicide-by-cop when he stabbed                           Youth Suicide                                 popu lation of people, like the entire student body at a school, depending on the attacker's goals and motives.
            his SRO seven times with     a bayonet. Th e officer struggled with the
                                                                                                   In 2017, the CDC reported suicide as the 2nd
           attacker before fatally shooting him in self-defense. Th e attackerS fina l
                                                                                                 leading cause of death among those benveen the               SPECIFIC PERSON TARGETED: In nearly three-quarters of the attacks (n = 30, 73%) , a specific person or persons were
            words   to the officer we re, "'Thank you sir, thank you ." ln a suicide note. the                ages of 10-24 years old.                        t argeted by the attacker. In 22 attacks (54%), a specifical ly targeted person was injured or killed.
           attacker described human civilization as an "unnatural system," and
           included additional language like, "If you 're reading this. I'm either dead or        The National Suicide Prevention Ufefine provides
                                                                                                                                                                    A 12-year-old student stabbed her middle school classmate in the neck and stomach. Injuring him. Other students had
           on my way to dying. If I fall at suicide, someth ing else will end me. I have          free and confidential 24/7 support to people in
                                                                                                                                                                    previously observed the victim teasing the attacker and calling her names. A few days before the Incident, the attacker told
           had enough of this tainted and corrupted world we live In," and, "I hope for          crisis. If you or someone you know needs help, call
                                                                                                                                                                    another student that she hated the target. Just minutes before the stabbing, the attacker told a group of classmates that she
           a better existence after my passing."                                                                1-800-273-TALK (8255).
                                                                                                                                                                    hated the target and that she wanted to kill him, because he was annoying and was a bad person. Nobody else was ta rgeted

                                                                                                                                                                    or harmed In the attack.



1.7                                                            PROTECTING AMER IC A"S SCHOOLS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/ 20.19                   PROTECTING AME RI CA"S SCHOO LS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/ 20.19                                                                      18




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SPECIFIC GROUP TARGETED: In six attacks (15%), a specific group of students was targeted (e.g. , bullies, "jocks,"                             Planning
"emos," "preps ," "sinners"). In only one of those attacks was a member of the targeted group actually harmed.
                                                                                                                                               Over half of the attackers (n      = 21.   51%) engaged in ob.s.ervable planmng   bel1 av1o ~ prior   to cjlliy.i[lg,_Qut thetr attack
      A 17-year-old former student opened fire in his previous high school cafeteria toward a group of students who had bullied him.           that went beyond making statements of intent. Twel ve attackers (29%) exhibited three or more different types of
      The attacker was In his previous high school because he would arrive there each morning before being bused to an alternatfve             planni ng activities tl1at were observable to others. Of note . the attackers in this study who perpetrated mass artacks
      school. Three students were killed and three more were Injured. Those killed had all reportedly bullied the attacker, and one of         averaged more than twice as many planning behaviors as attacke rs with fewer vict1ms (see Appendix B: Stat1st1cal
      them was dating the attacker's ex-girlfriend. One of the Injured students had also bulffed the attacker, but the two other Injured       Ana lyses). For 10 of the attackers (24%). their first act of planning was within one month of the incident. Seven
      students were bystanders.                                                                                                                attackers (17%) began planning between one and six months before the attack. and rarely did planning begin more
                                                                                                                                               than six months prior (n    = 3,   7%) . 13 While some attackers discussed their plans with others, no attackers app eared t9
RANDOM VICTIMS: Seventeen attacks (41%) involved random victims who were attacked indiscriminately or                                          receive direct assistance in planning their specific school attack.
opportunistically by the attacker (e.g., the attacker fired into a crowd or fired upon the first student he saw).
                                                                                                                                               WEAPONS RESEARCH AND SELECTION: One-third of the attackers                                    Planning for the Attack
      A 16-year-old student randomly attacked a female classmate with a serrated knife and a claw hammer when she walked Into                  (n = 13, 32%) researched weapons prior to the attack. This                            Weapon s Research         Planning !he
      the high school restroom. The victim was stabbed and hit several times, but survived the attack. The attacker's motive was                                                                                                     and Selection             Execution of the
                                                                                                                                               included conducting online searches , reading books and
                                                                                                                                                                                                                                                               Attack
      to kill as many people as she could before fleeing the school. She then planned to purchase a gun and commit suicide.                   pamphlets. or asking others about weapons experience and other                         Deceprive Practices
                                                                                                                                              related topics. The research focused on how to make explosives .                                                 Practicing with a
COLLATERAL VICTIMS: Five attacks (12%) Involved random victims who were Injured as collateral bystanders (e.g., the                                                                                                                  Weapons-related           Weapon
                                                                                                                                              wea pon functionality and utility, how to inflict maximum damage ,
attacker aimed at a specific target, but an unintended student was shot).                                                                     and types of protective equipment.                                                     Documentation of          Recruiting Others
                                                                                                                                                                                                                                     Plans
                                                                                                                                                                                                                                                               Packing an Attack
                                                                                                                                              DECEPTIVE PRACTICES: Nine attackers (22%) engaged in deceptive                         Approaching,              Bag
                                                                                                                                              practices in order to hide their activities and avoid detection. Thi s                 Surveilling, or
                                                                                                                                              included lying about weapons purchases and other materials (e.g.,                      Researching the           Researching Prior
                                                                                                                                                                                                                                     Target                    Atracks
                                                                                                                                              telling parents that purchased materials were for chemistry class),
                                                                                                                                              concealing weapons for transport, claiming needing a weapon
                                                                                                                                              fo r protection, or waiting until after dark to manufacture weapons . For example, on the night prior to one attack, the
                                                                                                                                              attacker waited until his mother went to sleep before building homemade explosives. He then pretended to be asleep
                                                                                                                                              so that his mother could wake him up to start the day, thus maintaining their normal routine and not arousing
                                                                                                                                              any suspicion.


                                                                                                                                              WEAPONS-RELATED: Seven attackers (17%) engaged in weapons-related planning behaviors, in addition to weapons
                                                                                                                                              research (see Weapons Research and Selection) and the acquisition of the weapons used in the attack (see Firearm
                                                                                                                                              Acquisition section) . These other activities incl uded manufacturing-explosives. modifying guns or knives, stockpi ling
                                                                                                                                              additional wea pons. or failed attempts to acquire other weapons. Some who failed to acquire certain weapons or
                                                                                                                                              materials_adjusted their plans to use other weapons already acquired or more readi ly accessible.


                                                                                                                                                    A 12-year-old student shot and wounded several classmates and a school security officer in his middle school gymnasium
                                                                                                                                                    before surrendering to a teacher. Two days prior to the Incident, the attacker had attempted to acquire his father's handgun,
                                                                                                                                                    but was unsuccessful. Then the night before the attack, he took a shotgun from his home and sawed off the barrel so that it
                                                                                                                                                    could fit Into his duffel bag.




                                                                                                                                              PRO TECTING AMER ICA'S SCHOO LS / ANALYSIS OF TARGETED SCHOOL YIOLENCE/ 2019                                                              20




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      DOCUMENTATION OF PLANS: Seven attackers (17%) documented their plans and intentions for the attack in journal                                     PACKING AN ATTACK BAG: Two attackers (5%) packed a supply bag prior to the incident. One of them packed
      entries or other writings. These writings included hit lists. safe lists (e.g., lists of those individuals who would            not be            clothes. cash, and other items needed to run away from home after the attack. and the other packed additional
      targeted), supply lists, lessons learned from past attacke rs, and diagrams of school hallways .                                                  weapons, an energy drink, and a lollipop.


          A 1.5-year old student fatally shot a classmate and Injured three others at his high school, before surrendering to the school                OTHER TYPES OF PLANNING: Nine attackers (22%) took steps to plan their attack in ways that were unique and
          janitor. In his jou rnal and other scattered writings, pof/ce found diagrams mapping his high school, along with written                      could not be categorized among t he other behaviors. This included stealing money to buy wea pons, deleting an
          homicidal statements and lists of chemicals, weapons, and ammunition. The attacker had also written "X Kill" on the photo                     email account, and specifically wearing baggy pants the day of the attack in order to conceal a weapon.
          page in his yea rb ook and had crossed out the photographs of 26 classmates.

                                                                                                                                                      Firearm Acquisition
      APPROACHING, SURVEILLING, OR RESEARCHING THE TARGET: Five of the attackers (12%) researched their targets
      prior to the attack. This included surveill ing the SRO in order t o learn hi s routine. noting security camera locations,                      The· grimary weapons used in the 41.,attacks we re        fi rear~_( n   = 25.   6~ nd" knive s   ("-"'-16, 39%). In most_of the
      and trying to arrange meetings with a targeted teacher.                                                                                         incidents involving knives, the weapons were taken by the attacker from their kitchens or other areas of their homes.
                                                                                                                                                      Because knives are commonly available with little] estriCtion . this section focus,es on how the attackers acquired the
                                                                                                                                                      ,.._
          A 14-yea r..old student shot and killed his father before driving to hfs former elementary school, where he opened nre near the             firea rms used in the attacks . All percentages provided ln_this section a re based on the 25 attackers who
          playground. One elem entary student was fatally shot, and at least one other student and one teacher were injured. The                     used firearms .
          attacker had researched the schedules of schools he had attended and inquired about security and the presence of SROs. He
          chose to target his former elementary school due to the more robust security at his middle school, his understanding of pollee             FROM THE HOME: Nineteen attackers (76%) acq uired a firearm from t he 11ome of a parenror an other close relative. In
          response times to different schools, and the proximity of the elementary school to his home.                                               half of the firearms cases (n      =12, 48%) , evidence indicates the firearm was either readily accessible , or it was not
                                                                                                                                                     secured In a meaningful way. For example, some firearms had been kept locked in accessible wooden or glass cabi-
      PLANNING THE EXECUTION OF THE ATTACK: Five of the attackers (12%) spent time carefully considering how they                                    nets. locked in vehicles, or hidden in closets. In four cases (16%), the firearms were kept in more secured locations ,
      would execute their attacks. Th ey considered the "best" location to kill their intended target(s) , the class period to                       but the attacker was still able to gain access to them. In these 1nstances, the fi rearms were secured in a locked g.un
      initiate the attack, and the route they would take through the school. One of the attackers shared hi s plan via                               safe or case. bu t the attackers were able to gain access to them because they knew th e combination or where the
      social media.                                                                                                                                  keys were kept, or th ey were able to guess th e password or combination. In
                                                                                                                                                     three cases. it is unknown if the fi rearm had be.ea_secured.                                 Juvenile Access to Weapons
      RESEARCHING PRIOR ATTACKS: Five of the attackers (12%) conducted research on prior incidents of targeted
                                                                                                                                                                                                                                                 Under federal law, individuals under the age
      violence, including past school attacks. Thi s research was usually conducted through online searches. or by                                           A 15-year-old student fatally shot one classmate and Injured three others at
                                                                                                                                                                                                                                                  of 18 may not legally possess a handgun,
      watching videos or documentaries of prior attacks.                                                                                                     his high school. The attacker knew the combination to his father's gun safe,               except in limited circumstances.
                                                                                                                                                             from which he was able to obtain a loaded semi-automatic .223-cal/ber AR-1.5           Federal law does not restrict the age of
         A 16-year-old student used two kitchen knives to slash and stab 19 classmates and a school security guard. The attacker                             rifle with a 30-round magazine, and a .32-caliber semi-automatic pistol. The          individuals who may possess long guns
         selected the birthday of one of the Columbine attackers as the date of his attack. Prior to the Incident, the attacker had                          attacker transported the weapons on the school bus by conceaflng the rifle a nd       (e.g., shotguns and rifles). Some states
         watched a documentary about the Columbine shooting in an effort to "numb himself," ln preparation for his planned attack.                           seven extra boxes of ammunition in a golf bag. He kept the handgun in               have implemented additional restrictions on
                                                                                                                                                             his pocket                                                                          juvenile possession of firearms, for example,

      PRACTICING WITH A WEAPON: Four attackers (10%) practiced with a weapon prior to their attack. This included one                                                                                                                              prohibiting minors from possessing any

                                                                                                                                                     TIMING OF THE ACQUISITION: Eight of the attackers (32%) acquired a firearm                  firea rm, except for certain activities and with
      attacker who tested his homemade pipe bombs, one who practiced loading and unload ing a shotgun , and one who
                                                                                                                                                                                                                                                              parental consenC. 14
      practiced wearing tactical gear.                                                                                                               on the day of the attack. Five additional attackers (20%) acqu ired a firea rm
                                                                                                                                                     the day before tl1e attack. and four attackers (16%) acquired a fi rearm                    If a child poses a risk of harm to him/herself
      RECRUITING OTHERS: Four attackers (10%) contemplated or attempted recruiting others to help execute the acts of                                between two an.d seven days prior. This finding reinforces the importance                   or others, it is the responsibility of parents,
      violence. Two of these attackers attempted unsuccessfully to recruit a specific individual to assist with the attack.                          of a swift response to situations involving students who may pose a risk of                       law enforcement, and schools to

                                                                                                                                                     harm to themselves or others, especially those who have access to                                collaborative/y determine the most
      Two others considered recruiting help, but did not. One of those attackers realized t hat attempts for recruitment
                                                                                                                                                                                                                                                  appropriate avenue for ensuring that the
      could make him vulnerable to detection and therefore refrained from asking.                                                                    weapons in the home.
                                                                                                                                                                                                                                                   child does not have access to weapons.



2l.                                                     PROTECT I NG AMERI CA'S SCHOOLS/ANALYSIS OF TARGETED SCHOOL VIOLENCE/2019                    PRO TECTING AME RI CA'S SCHOOLS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/2019                                                                     22




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     WEAPONS TRANSPORT: Half of the attackers (n = 12, 48%) who used a firearm in their attack transported the weapon                                   school officials during which t he SRO searched the attacker's home for weapons. Prior contact with law enforcement
     into the school building wh ile concealed in t heir backpacks. Three attackers (12%) transported their firearms into the                          also involved an attacker being deta ined by law enfo rcement after being reported as a runaway and police visits to
     school in another type of bag, including a guitar case , a golf bag, or a gym bag. One attacker t ransported a fi rearm                           attackers ' homes for issues regarding the attackers' families.
     into the school concealed in his waistband. Two attackers did not conceal their fi rearm, carrying it openly into the
     school bu ilding after the start of the school day.                                                                                               Psychological, Behavioral, & Developmental Health

     Additionally, two attackers t ransported firearms from home to school, but perpetrated the attack on school property                              According to national prevalence rates, nearly 20% of children are diagnosed with at least one mental health and; or
     without entering the building. One of t hose attackers ca rri ed his weapon out in the open, while t he other concealed                           behavioral disorder.15 In this study, a documented mental health diagnosis wa s received by fourteen ( 40%) of the
     the firearm in a guitar case as he rode his bike to the school grounds.                                                                           attackers prior to their attack.


                                                                                                                                                       Thi s section will foc us on the observable mental healt h symptoms displayed by attackers prior to their attack. Such
          For 6 of the 41 incidents Included in this study, there wa s little information available on the background of th e                          mental health factors were divided Into t hree main categories: psychological, behavioral, and neurological/
           attackers in both primary source fil es and open sources. As a result, those six attackers were removed from                                developmental. Most of the attackers (n = 32 , 91%) in this study exhibited symptoms in at least one of these
          the analysis of behavioral histories. All percentages provided In the remainder of the report are based on the                               categories. and half of the attackers (n = 17, 49%) displayed symptoms of more than one type. with the most frequent
                                     35 attackers for whom substantive Information was available.                                                      combinations involving psychological and behaviora l symptoms . When considering such signs and symptoms , it is
                                                                                                                                                       possible that underlying situationa l factors may be the cause of the behavior (e.g., stressors the child is
                                                                                                                                                       experiencing), as opposed to a diagnosable disorder.
     Law Enforcement Contact
                                                                                                                                                                                          Symptom Categories
     Half of t he attackers (n   = 17 . 49%) had contact with     law enforcement prior to carrying out their attacks, which included
                                                                                                                                                                                          Psychological                           24                    69%
     prior arrests and other encounters. like welfare checks at home. For some (n              = 6 , 17%). these    prio r contacts or
     interactions were with an SRO.                                                                                                                                                       Behavioral                              20                    57%
                                                                                                                                                                                          Neuro; oevelopmental                     7                 20%
                                                                                                                                                                                                                                            -       -         --

     PAST CRIMINAL CHARGES: About one-third of attackers (n               = 11, 31%) had previously been arrested or faced            criminal
     charges , and t he crimes fo r which they were charged included both non-vi olent (n           = 7 . 20%) and violent (n = 6, 17%)
     offenses. In some of these cases , the charges against the attacker were ultimate ly dismissed. The non-violent                                        The vast majority of Individuals In the United States displaying the symptoms or traits identified In this section
     charges included alcohol or drug related offenses, a curfew violation, criminal conspiracy, shoplifting or theft,                                           do not commit acts of crim e or violence. The symptoms described in this section constitute potential
     t respassing, and reckless driving. The violent charges included affray, assault with a deadly weapon, and weapons                                    contributing factors, as part of a constellation of other factors, and should not be viewed as causal explana tions
     possession at school with intent to cause harm. Physical fights , which occurred both at home and at school,                                                                                         fo r why the attacks occurred.
     resulted in charges of disord erly conduct and di srupting public school. In one case, t he charge was related to a
     domest ic violence incident when t he attacker physic all y assa ulted his mot her, threatened to kill her, and ended up
     having to undergo a mental health evaluation. None of the charges were for sex offenses.                                                          Psychological

                                                                                                                                                                                                                                                 Common Psychological Symptoms



                                                                                                                                                                                                                                                                -
           An 1 8·year-old student shot and Inj ured a classmate at his high school before surrendering to the SRO. According to                       This section describes attackers who exhibited several clusters of
           Investigative records, the attacker had been previously arres ted fa r carrying a conceale d gun, possession with the Inte nt to            emotional and psychological symptoms. The most common of these                  25           22           2i
                                                                                                                                                       types of symptoms was related to depress ion . wit h two-thirds of the          20
           distribute a controlled dangerous substance, trespassing, and resis ting a public officer.




                                                                                                                                                                                                                                                                                   ••
                                                                                                                                                                                                                                       15
                                                                                                                                                       attackers (n   = 22. 63%) exhibiting some sign or symptom . A similar
                                                                                                                                                                                                                                       10                                            9         -7
     OTHER CONTACT WITH LAW ENFORCEMENT: Some attackers (n = 10, 29%) had prior interaction s with law enforcement                                     number of attackers (n = 21, 60%) also experienced suicidal t houghts
     that did not result in arrests or charges, or were related to issues with their fa milies. These types of interactions                            and ideati ons.16 Anxiety (n   = 10, 29%), anger (n = 9 , 26%), and
     included instances where the attacker had gotten into fights or displayed other inappropriate behavior at school and                              symptoms of psychosis (n = 7, 20%) were also documented in the                           Depressi ve   Suicidal   Anxiety   An ger   Psychotic
                                                                                                                                                                                                                                                              Ideation
     was spoken to by the SRO as a result . In one case, the prior contact was part of a threat assessment conducted by                                available sources of information.


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            A   ~6-year-old   student shot his high school principal in the a rm before his weapon malfunctioned. Prior to the incident, the          communicate effectively, most of the attackers who experienced these conditions had difficulty regulating their
            attacker exhibited a wide range of symptoms typically associated with depression. For example, he began to Isolate himself                emotions, while also experiencing other psychological and/or behavioral symptoms.
            after his parents divorced and his siblings moved out of the home. White he had played multiple sports and enjoyed video
            games, the attacker withdrew from these activities as his depression worsened. He began going to school without shaving,                        A 12-year-o/d student fatally shot one teacher and wounded two classmates at his middle school, before killing himself.
            showering, or washing his hair, and multiple people noted his body odor. The student reported feeling helpfess, hopeless, and                   According to open source reporting, the attacker was late In his language development and required speech therapy. As he
            worthless, and he said he had low energy, troub le sleeping, reduced appetite, decreased interest in activities, Impaired                       progressed through elementary school he continued to have probfems with communication, cognitive deficits, and academics.
            concentration, and his grades began to decline. He often sat alone In his room In the dark. He began having suicidal thoughts                   In 6th grade, he was still performing 1st grade work In math and 2nd grade work In reading. Th e attacker exhibited poor social
            and came close to kilfing himself prior to the Incident. According to media reports, a state psychiatrist concluded that mental                 skiffs and did not make friends easily. His ability to pick up on social cues was limited, a nd he had difficulty with transitions
            Illness played a role In the attacker's actions In carrying out the Incident.                                                                   from one activity to another. His emotfons were unstable, with frequent episodes of anxiety, anger, and crying. He often
                                                                                                                                                            seemed confused and was described as being in his own world.
     Behavioral
                                                                                    Symptom/ Behavior                                                 Personality Traits
     Twenty attackers (57%) displayed behavioral symptoms ,                         Defiance/misconduct           14                    40%
     including defiance towards authority, poor impul se control,                   ADHD/ADD                      10                    29%           A fourth category, related to personality traits , was also considered , in order to highlight the personality dynamics that
     and other violations of social norms. Also included here                                                                                         may have impacted the attackers' behavior. A personality disorder is a manner of thinking, feeling, or behaving that
                                                                                    Aggression                    8                     23%
     are those attackers who exhibited symptoms of, or were                                                                                           falls outside of social norms and causes distress or problems functioning . It is possible that persistent patterns of
                                                                                    Anger                         5                     14%
     diagnosed with , ADHD or ADD. Anger was Included here if it                                                                                      defiance and misconduct at a young age may be indicative of a personality disorder as a student reaches adulthood .
     occurred in the absence of any identifiable psychological or                   Animal cruelty                3                       9%   I      Research shows that as many as two-third s of adolescents with a diagnosis of conduct disorder can go on to develop
     emotional issues that would account for it.                                                                                                      a personality disorder as an adult. 17


           A 15-year-old student shot and Injured two classmates at his high school. The attacker had a history of misconduct beginning               One notable feature of attackers in this study with possible personality traits was narcissism, which manifested in
           at a young age. His academic record included dozens of discipline referrals at school for disobedience, disrespect to teachers,            multiple ways . These attackers generally had an inftated sense of self, believing that they were superior to others.
           threa ts, harassment. and assault. He had numerous In-school and out-of-school suspensions. In 6th grade alone, he had 24                  Because they viewed themselves as superior, they had little concern for rules or laws , believing that they were above
           discipline referrals from 5 different staff members. The reasons for the referrals Included refusing to cooperate with authority           such conventions. Similarly, they did not respect people in positions of authority over them. Some of them sought
           and altercations with peers. He was viewed as a bully and repea tedly tried to pick a fight with the boy he late r targeted In             fame thro ugh violence as a way to validate their infla ted self-concepts. Furthermo re , these attacke rs tended to lack
           the shooting.                                                                                                                              empathy and derived sadistic pleasure from the thought of hurting or killing others. Further evidence of callousness
                                                                                                                                                      was seen in their lack of remorse or emotional reaction to the enormity of what they had done.
     Neuro/ogicaVDevelopmental
                                                                                                                                                            A student shot and injured a classmate and     a teacher in   his

     Neurological conditions or developmental issues were found for seven attackers (20%), which included developmental                                     high school science classroom. The attacker had previously

     delays, cognitive deficits (e.g., poor problem-solving or decision-making skills), and learning disabilities (e.g .. dyslexia),                        written stories and told friends about his desire to attack the                             Personality Traits
     and symptoms or diagnoses within the autism spectrum.                                                                                                  school and his bullies. Prior to the Incident. the attacker had                  Narcissistic                  Sadistic
                                                                                                                                                            expressed fantasies of killing and mutilating his brother, pushing
                                                                                                                                                                                                                                               Deceitful           Disregard for Rules
     Attackers in this category often experienced delays in language                                                                                        a child out of a wheel chair, and punching a crying infant.
                                                                                         Neurological/Developmental Symptoms                                                                                                               Lacks Empathy                   Callous
     acquisition (e.g., lifelong speech cha llenges, not conversing                                                                                         Classmates a/so observed the attacker drawing portrayals of

     until five years old), sensory sensitivity (e.g., covering ears when                                                                                   children being massacred an a playground. After the Incident,                                  Manipulative
                                                                                       Sensory Sensitivity              Cognitive Deficits
     other kids were loud , disliking school assemblies, or attempting                                                                                      Investigators found journals with similar violent content. During trial,
                                                                                       Poor Communication              Learning Disabilities                a psychologist retained by th e prosecuto r stated that attacker had
     to avoid pep rallies due to noise), and poor communication skill s
     (e.g., saying things that did not make sense). In addition, these                 Developmental Delays             Poor Social Skills                  antisocial, paranoid, and narcissistic features.

     students often misinterpreted social cues or isolated                                       Delayed Language Acquisition
     themselves. With an inability to integrate socially and


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     Mental Health Treatment                                                                                                                       Twe nty-five attackers (71%) had previous experience with firearms,
                                                                                                                                                   including pistols, ri fles. shotguns , and other weapons that closely                         History of Weapons Use
     Of the 35 attackers in this study, 19 (54%) had received some type of mental health treatment. Eleven (31%) had                               mimicked firearms, such as BB guns, airsoft guns, and paintball                      30
     received services within t heir schools. and half (n = 17, 49%) had rece ived services in the community. Nine of the                          guns. Thirteen attackers (37%) had previous experience with knives,
     attackers (26%) received services both at school and in the community. For some attackers , mental health treatment                           outside of normal usage, and eleven (31%) had previous                               20
     was in place at the time of the attack, wh ile fo r others , the treatment had ended by the time the incident occurred.                       experience with both firearms and knives. Eight attackers (23%) had


     The fact that half of the attackers had received one or more mental health services prior to their attack
     indicates that mental health eva luations and treatments should be considered a component of a multidisciplinary
                                                                                                                                                   experience with other types of wea pons, wh ich included
                                                                                                                                                   manufacturing explosives (e.g. , pipe bombs) or incendiary devices
                                                                                                                                                   (e.g., Molotov cocktails), or using a bow and arrow, nun chucks,
                                                                                                                                                                                                                                        iO
                                                                                                                                                                                                                                          0
                                                                                                                                                                                                                                                 Firearm
                                                                                                                                                                                                                                                                   'I
                                                                                                                                                                                                                                                                  Knife
                                                                                                                                                                                                                                                                                  p

                                                                                                                                                                                                                                                                                 Oth::_
                                                                                                                                                                                                                                                                                               JI
                                                                                                                                                                                                                                                                                               .
     threat assessment, but not a re placement. Keep in mind that standard mental health evaluations and treatments wi ll                         throwing stars. or a machete.
     not include things like a review of crimi nal records, corroborative interviews with people who know the student. an
     analysis of a student's social media accounts . or a search of the student's home or locker. Mental health                                          A 1.5-year-o/d student fatally shot one classmate and wounded one teacher, before killing himself. In his freshman year
     professionals, both in and out of the school, should be included in a collaborative threat assessment process that                                  language arts notebook, the attacker had made several entries about weapons. He wrote, ~weapo ns-/ know A LOT! About guns,
     also involves teachers, administrators, and law enforcement.                                                                                        knives, and body armor. I can tell the name of a gun ... and tell you it's [sic} caliber. I can also disassemble two   guns.~   The
                                                                                                                                                         attacker's brother had taken him shooting In the year prior to the attack, where they practiced shooting pef/et guns. an AR-15
     Substance Use & Abuse                                                                                                                               style rifle, and a rifl e the attacker had received as a gift from his brother for his birthday. During that same year, the attacker
                                                                                                                                                         occasionally brought knives to school and showed them to at least one other student on the school bus.
     Half of the attackers (n   = 17, 49%) had a history of substance use and/or abuse. The most frequently used               substances
     included marijuana (n = 14, 40%) and alcohol (n = 12, 34%). Some attackers used other controlled substances                                  HISTORY OF VIOLENCE: Half of the attackers (n           = 18, 51%) engaged       in violent behaviors that did not resu lt in an arrest
     (n = 7, 20%), including opiates (e.g .. Percocet, oxycodone), amphetamines (e.g., Adderall), Valium, Seroquel, K2, and                       or contact with law enforcement, including violence towards a fami ly member (e .g., hitting a parent or stabbing a
     anabolic steroids , none of which had been prescribed to them. A few attackers (n = 3, 9%) misused drugs that had been                       sibling), physical assaults (e.g. , choking a friend or hitting another student), threatening or aggre ssive behavior (e.g.,
     prescribed by a doctor, or over-the-<:ounter (OTC) drugs, including Benadryl and cough syrup with codeine.                                   pointing a pair of scissors at and th reatening to stab a classmate), or hurting animals. Additional cases of attackers
                                                                                                                                                  with a history of vio lent arrests or criminal charges are described in the Law Enforcement Contact section of
     For seven of the attackers (20%), their substance use reached the level of abuse, causing negative consequences or                           this report.
     problems in their lives such as alcohol or drug related criminal charges, school suspensions, or being sent to drug
     t reatment.                                                                                                                                        A 14-year-old student killed his father at home, before opening fire on his former elementary school. One elementary student
                                                                                                                                                         was fatally shot, and at least one other student and one teacher were Injured. The attacker had a history of hurting small
           A 16-year-o ld student stabbed and injured a classmate at his high school. Other classmates subdued the attacker until school                anim als and watching videos of animals being hurt.
           officials arrived at the scene. According to court records, around the age of 13 or 14, the attacker began using marijuana and
           alcohol with his friends,   as well as using non-prescribed oral steroids and abusing cough syrup containing codeine. The              INTEREST IN VIOLENCE AND WEAPONS: Half of the attackers (n = 17, 49%) had an unusual or concerning interest in
           attacker reported that he consumed       a four-ounce bottle of the cough syrup every two days for about a year.                       violence or weapons. For example. some of the attackers researched past incidents of mass violence , drew figures of
                                                                                                                                                  dead students , consumed vio lent or graphic media, completed writing assignments or kept journals referencing violent
     Weapons Use & Violence                                                                                                                       t opics, hurt animals or watched videos of animals being abused, or described themselves as obsessed with weapons.
                                                                                                                                                  For an interest in weapons to be concerning , it had to be viewed as a fixation or fascination that was beyond what
     Weapons Use: Three-quarters of attackers (n          = 27, 77%)   had a l1istory of using weapons prior to their attack. These               wou ld be considered a normal interest or knowledge of weapons.
     histones included th e attackers owning, using, training with, or practicing with weapons. including firearms, knives, or
     other types. For example, some attackers were experienced in hunti ng or target shooting, were members of the Juntor                               A 12-year-old student fatally shot a teacher and wounded two classmates at his middle school, before killing himself. In the
     Reserve Ofticer Training Corps (JROTC) , had interests in airsoft guns, regu larly carried a knife. or played with BB guns.                        months preceding his attack, the attacker conducted internet searches using the fallowing terms: bullying, Top 10 evil children,

     While each of these activities . independently, do not ind icate that a student poses a ri sk of violence. they do provide                         Super Columbine Massacre Role Playing Game, shoot, guns, revenge, murder, school shooting, kilter, hate, and what if Nazi's
     t he stu.dent witl1 famil iarity, and in some cases explicit training. on how to handle and use wea pons.                                          won WW2. The attacker also owned forty-seven first-person shooter video games and had saved photographs of the Columbine
                                                                                                                                                        shooters on his phone.


27                                                          PROTECTING AMERICA'S SCHOOLS/ ANALYSIS OF TARGETED SCHOOL YIOLENCE/ 20l.9             PROTE CTI NG AMER I CA'S SCHOOLS/ ANALYSIS OF TARGETED SCHOOL YIOLENCE/ 201.9                                                                    28




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     Two specific interests emerged as common and particularly concerning among the attackers. The se were a fascination                             All but two of the attackers (n      ~   33, 94%) experienced at least one of the home-life factors listed here. Those
     with the Columbine attack or an interest in Hitler and Nazism.                                                                                  attackers experienced between one and six factors each, with an average of 3.4.


      • Columbine: About one-quarter (n ~ 8 , 23%) of attackers displayed a concerning interest in the attack at Columbine
        High School. This was demonstrated by the attacker having saved photos of the Columbine attackers, watched
       documentaries or read about the attack, or paraphrased the diary of one of the Columbine attackers in their own
       diary. These attackers also consumed the movies or music that they knew the Columbine attackers had liked, spoke
       to friends about the attack, posted about it on social media, or wrote about Columbine in class assignments.
       journals, or manifestos.


           A   ~4-year-old   student opened fire toward his SRO, burning the officer on the head with the discharging firearm. The attacker
           had previously written    a report for class titled, "The Columbine High School Massacre." Throughout his personal journal, he
           referenced the Columbine attackers, referring to them by nicknames, and also referenced a movie they liked. He wrote,
           "[The Columbine] story Is SO fascinating to mer and, "They're so... INSPIRATIONAL!"


     • Hltlerj Nazlsm: Seven attackers (20%) displayed a concerning interest in Hit ler or Nazism. This interest was revealed
        through a pattern of behavior, including attackers who turned in school assignments describing their admiration                              DIVORCE/SEPARATION: The most common home life factor experienced was parent divorce or separation, which was
        for Hitler, collected Nazi propaganda and Hitler speeches, used known Nazi references and symbols, viewed                                    experienced by 25 of the attackers (71%).
        neo-Nazi websites, wrote about Hitler or Nazism in journals, or had conversations with cla ssmates about
       these topics.                                                                                                                                 FINANCIAL DIFFICULTY: Twenty-four attackers (69%) experienced a home life with at
                                                                                                                                                     least one indicator of financial difficulty.
                                                                                                                                                                                                                                                       Financial Difficulty
           A 14-year-old student fatally shot a classmate at his high school. The attacker was known to have shown an in terest in Hitler,
                                                                                                                                                                                                                                                           Bankruptcy
           and he knew the names of all of Hitler's deputies. After the attack, a copy of Hitler's Meln Kampf was discovered In the                  ARRESTS OR INCARCERATIONS: Nineteen attackers (54%) had a home life where a
           attacker's backpack along with drawings of swastikas In his notebooks. A later search of the attacker's residence identified              parent, guardian, or sibling was arrested or incarcerated at some point after the               Eviction or Homelessness
           Nazi paraphernalia, Nazi and white supremacist materials, anti-Semitic drawings, Nazi videos, Hitler speeches, and Nazi                   attacker's birth. Research has found that the arrest or incarceration of a fami ly                   Failure to Pay
           propaganda posters from Internet websites.                                                                                                member can have a number of negative consequences for childhood development.                         Child Support
                                                                                                                                                     Children who witness a parent's criminal activity, arrest, and incarceration have a
                                                                                                                                                                                                                                                           Foreclosure
     Home Life Factors                                                                                                                               greater likelihood of emotiona l maladjustment and a harder time regulating
                                                                                                                                                                                                                                                       Fraudulent Check(s)
                                                                                                                                                     thei r emotions. 20
     This section is intended to describe the family dynamics and home experiences for each of the 35 attackers, using                                                                                                                                        Lien
     several home life factors that emerged as common and impactful. While none of the factors included here should be                                     A 15-year-old student fatally shot   a classmate at her high school. She then fled the          Low Income
     viewed as predictors that a student wi ll be violent, the field of study examining adverse childhood experiences (ACEs)                               scene before turning herself in. At the time of the incident, the attacker's father was           Poverty
     finds that experiencing certain adverse events in childhood can result in a range of negative outcomes later in life,                                 serving a 25-year sentence for second-degree murde r. He was arrested two yea rs

     particularly when a child experiences multiple ACEs." ACEs include things like parent se paration and divorce,                                        prior to the attack. While the attacker had not visited her father In prison, she was

     substance abuse in the home, family violence, abuse, family incarceration , and family mental illness. The first analysis                             able to speak with him on the phone and had lived with him Intermittently prior to

     of nationally-representative data on ACEs fo und that the percentage of youth displaying indicators of poor well-being is                             his inca rc eration .

     greater among those who have experienced t hree or more such factors ." In other words, the more ACEs a child
     experiences, the greater the risk fo r negative outcomes for the child.                                                                        SUBSTANCE ABUSE: Sixteen attackers (46%) had parents, guardian s, or siblings using or abusing illicit drugs or
                                                                                                                                                    alcohol. Research has fo und that children of parents with substance use disorders are more likely to experience
                                                                                                                                                    abuse or neglect, develop behavioral problems , display violent behaviors, or engage in substance use themselves ."



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            A 15-year-old student stabbed two classmates multiple times in the restroom. Both victims, selected at random, survived
                                                                                                                                                                                            Types of Stressors Experienced by Attackers
            the attack. When she was a child, the attackerS father was Incarcerated multiple times for drug possession and other
            drug-related offenses. On at least one occasion prior to the attack, according to open source reporting, the attacker snuck out
            of her mother's home In order to smoke marijuana with her father.
                                                                                                                                                                                 Social
                                                                                                                                                                                 Family
                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                       ·-        -·"-•'.
                                                                                                                                                                                                                                                                ,-    32
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                                                                                                                                                                Academic/ Disciplinary      '-   .   ~   .~   ..   ·~-
                                                                                                                                                                                                                                                                     3i
                                                                                                                                                                      General Personal                                                 --~.          22
     FAMILY DISCORD: Fourteen attackers (40%) had evidence of exposure to fam ily discord. The types of discord captured
                                                                                                                                                                     Changing Schools                                                       i9



                                                                                                                                                                                          .....6
     here varied, from repeated verbal arguments to domestic and other physical vio lence. These hostile events often
                                                                                                                                                                      Criminal/Judicial
     occurred multiple times throughout the attackers' lives, and most of these attackers experienced more than one
                                                                                                                                                                       Physical Health                                   I   iO   I
     type of family discord .
                                                                                                                                                                           Employment
                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                                                                     ·~
                                                                                                                                                                                                                     iO           iS        20             25   30         35
            A 17-year-ofd student entered his former high school and fatally shot three classmates and wounded three others. Th e
            attacker came from a troubled home with both of his parents Involved In multiple unions and divorces. According to public
            records, both parents a/so had a history of criminal charges and substance abuse. Domestic violence was common In the
                                                                                                                                                 SOCIAL: All of the 35 attackers (100%) in this study experienced at least one social stressor. Social stressors
            home, and the parents' criminal behavior resulted In the attacker ultimately being raised by his grandparents.
                                                                                                                                                 identified in this analysis Included stress related to the attackers' relationships with peers (e.g., bullying or other peer
                                                                                                                                                 conflicts) or romantic partners. The se types of stressors in particular. including peer rejection during childhood and
     FAMILY MENTAL HEALTH: Eight attackers (23%) had evidence of living with a family member in the home who                                     adolescence, have previously been linked to depression , anxiety, substance use, and behavior problems' ' For half of
     experienced symptoms of a mental illness. The most prevalent conditions appeared to involve mood disorders                                  the attackers (n = 19, 54%), a social event, such as a breakup or an incident of bullying, was the most recent stressor
     (e.g., depression and bipolar disorder) , with a few instances of possible psychosis.                                                       experienced before carrying out their attack. Those stressors often occurred within a week prior (n = 11, 31%).

     ABUSE/NEGLECT: Eight attackers (23%) suffered from neglect or were the victims of physical , verbal, or sexual abuse                              A 16-year-old student stabbed and injured his classmate In the high school cafeteria with a knife. The attacker later described
     in the home. Physical abuse was the most common type of abuse. and five attackers experienced multiple types of                                   himself as having experienced chronic verbal and physical bullying throughout his childhood and adolescence. In the weeks
     abuse prior to their attacks.                                                                                                                     leading up to the attack, the victim of the stabbing began to date the attacker's ex-girlfriend, which angered the attacker.


     NON-PARENTAL CUSTODY/CARE: Four attackers (11%) were raised by someone other than a biological parent at some                               FAMILY: Stressors related to the attackers' fami lies included confticts in the home, abuse or neglect by a parent, and
     point in their lives. Three had lived with, or were raised by, their grandparents. One attacker had been placed in the                      family financial difficulties. Nearly all attackers experienced fami ly-related stressors (n = 32, 91%). At least three
     foster care system and spent time in multiple foster homes before he was adopted.                                                           attackers had a stressful interaction with a parent within one day of tl1e attack.


     Stressors                                                                                                                                         A 14-year-old student fatally shot one elementary school student and Injured at least one other student and one teacher
                                                                                                                                                       outside of his former elementary school. According to the attacker, his father had been angry and aggressive aver the previous
     It is widely recognized that high stress levels are associated with emotional and behavioral problems for children. 22 All                        24 hours, complaining about his finances and engaging In a confrontation with the attacker over homework. The attacker
     35 attackers (l.OO%) experienced stressors, with nearly all (n          = 33 , 94%) experiencing at least one     in the six months               fatally shot his father before the attack at the school.
     prior to thei r attack. Three-quarters of the attackers (n    = 26,   74%) experienced a stressor with in one month of the
     attack, and half of the attackers (n = 18, 51%) did so within two days. Research indicates that some types of stress,                       ACADEMIC/DISCIPLINARY: Most attackers (n = 3 1 , 89%) had experienced school stressors related to academic or
     like the loss of a loved one, can be tolerated by children if they have emotional supports to help them process the                         disciplinary actions, including fail ing grades or school suspensions. More than half of the attackers (n                           = 21, 60%)   had
     experience. 23 Even with those supports, however, children will be cha llenged if the stressors they experience are                         both academic and disciplinary issues. For seven of the attackers (20%), a disciplinary issue at school was the most
     intense or frequent enough. In such cases, children may exhibit a range of responses, from depression                                       recent stressor experienced prior to the attack.

     to hyperactivity."
                                                                                                                                                 GENERAL PERSONAL: Two-thirds of the attackers (n = 22, 63%) experienced stressors that were unique or personal in
                                                                                                                                                 nature, and therefore not as easily categorized. These stressors included a failed drug test, homelessness , or
                                                                                                                                                 feeling unhappy with one's physical appearance. At least three attackers (9%) had witnessed violence against a friend
                                                                                                                                                 or loved one, including a death by stabbing.



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      CHANGING SCHOOLS: Over half of the attackers (n = 19, 54%) had changed schools at least once, not including the                                   TYPES OF BULLYING: The Centers for Disease Control and Prevention (CDC) identifies four types of bullying: verbal,
      normal transition from primary to secondary schools. Those 19 attackers changed schools more than two times on                                    physical, social, and property." This study additionally incorporated cyber bullying.
     average. Seven attackers (20%) had switched schools during the six months leading up to the attack. The reasons
     fo r the school changes included expulsions, placements in an alternative school setting, moving to a new residence,                               • Verbal: For nearly three-qua rters of the attackers (n = 26, 7 4%) , there was evidence that they experienced some
     enrolling in school after homeschooling, and transferring for personal reasons (e.g., to avoid bullies).                                             form of verbal bullying. This included spoken or written forms of aggression. Examples of verbal bullying experienced
                                                                                                                                                          by attackers prior to their attacks included threats, crude
     Some attackers experienced additional types of stressors that were less common, including stressors related to
     criminal or judicial activity (n = 10, 29%), physical health problems (n = 9, 26%), or problems at work (n = 6, 17%).
                                                                                                                                                          gestures, name calling, teasing, taunting, and suggestions
                                                                                                                                                          that they kill themselves.
                                                                                                                                                                                                                                         j                Types of Bullying                       I
     Only eight attackers were known to have been employed, and most of them were employed in the food service industry.                                                                                                                 - 30 - : !6


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                                                                                                                                                        • Physical: Many attackers (n = 14, 40%) experienced bullying that
     The number of contexts in which the attackers in this study experienced stressors ranged from two to eight, with an                                  involved physical aggression. Examples included hitting, kicking,
     average of five. Two of the attackers experienced stressors in all eight contexts.                                                                   tripping, pinching, pushing, threatening or menacing gestures. and
                                                                                                                                                          nonconsensual sexual contact.
           A 17-year-old former student fatally shot three classmates and wounded three others at his old high school. The attacker
                                                                                                                                                                                                                                                                                                  1
           had reportedly been bullied by the   targets of the attack, and he was angered that one of the victims was dating his
                                                                                                                                                        • Social: Six of the attackers (17%) experienced some kind of                            Verbal Physical Social        Property Cyber     I
           ex-girlfriend. Years prior, the attacker's parents had lost custody of him due to their drug and alcohol abuse. More recently, the
           attacker struggled academically and was eventuaf/y transferred to an alternative school, but according to Investigative flies, his
                                                                                                                                                          social bullying, which involved words or actions designed to harm          --'                                    ...-'
                                                                                                                                                          the victim's reputation or social standing. Examples included having rumors spread about them , being ostracized by
           attendance at the alternative school suffered due to frequent migraine headaches. The attacker had a part-time job in the food
                                                                                                                                                          others (e.g., classmates got up and left when the attacker sat down at a table), and being maliciously ignored.
           service Industry, but he was not a good employee, and newer coworkers were promoted above him. Law enforcement were
           often called to the attacker's home due to family Issues. A few months before the attack, the attacker was cited by police after
                                                                                                                                                        • Property: Four of the attackers (11%) experienced bullying involving acts of theft or destruction of property.
           crashing his mother's vehicle into a ditch.
                                                                                                                                                          Examples included having money stolen and having toilet paper thrown at their house.

     Bullying
                                                                                                                                                        • Cyber: A few attackers (n = 3, 9%) experienced cyber bullying, which involved the use of digital technologies, such
                                                                                                                                                          as text messaging or social media platforms. Cyber bullying can be done in public or in private. Some cyber
     Bullying is a problem faced by students and continues to be identified as a factor in NTAC's research on targeted
                                                                                                                                                          bullying occurs in a way that may only be known to the victim (e .g., direct text messages), while other cyber bullying
     violence in schools. Most of the attackers In this study (n         = 28, 80%)    were bullied by their classmates. For more
                                                                                                                                                          may be broadcast for public view (e.g., publicly viewable social media posts). The attackers who were cyber bullied
     than half of the attackers (n = 20, 57%), the bullying appeared to be of a persistent pattern which lasted for weeks,
                                                                                                                                                         were harassed on social media and received threatening emails, social media messages, and text messages.
     months, or years.
                                                                                                                                                       Though verbal and physical bullying we re the most common types of bullying experienced by the attackers, several of
     Bullying includes unwanted, aggressive behavior among school-aged children with an intent to do physical, social, or                              the attackers experienced three or four different types of bullying.
     emotional harm ; which involves a real or perceived power imbalance: and is, or could be,             repeated. 26   Between
     one-quarter and one-third of students in the United States report that they have been bull ied, while almost                                             VERBAL, PHYSICAL, AND PROPERTY BULLYING: A 12-year-old student fatally shot one teacher and wounded two classmates,
     th ree-quarters of students and school officials have reported witnessing bullying." The U.S. Department of Health and                                   before killing himself. The attacker had been teased and called names by his middle school classmates, including ~gay, " "lazy,"
     Human Services warns that bullying has lasting negative effects for those who are bu ll ied , those who bully others, and                                ~s tupid,"   and an "idiot." Classmates had poured water down his pants, and then said the attacker had wet himself. In other

     th ose who witness bullying.                                                                                                                             Instances, the attacker had his pants pulled down by classmates, was tripped in the ha lt, and had money stolen from him. The
                                                                                                                                                              attacker referenced some of these incidents in one of the suicide notes he left, which was addressed to classmates

     The evidence presented here supports past research findings that bullying causes significant stress and harmful                                          and teachers.
     outcomes for students. Schools should adopt and enforce a zero tolerance policy towards bullying and should
     encourage students to report bullying when they witness it or are victims of it. School officials and other authorities                                  VERBAL, PHYSICAL, SOCIAL, AND CYBER BULLYING: A 13-year-old student stabbed and injured a classmate multiple times
     must act to intervene and stop bullying when it is reported to them, and bullying does not have to meet a legal                                          in her head and arm at their middle school. The victim and her friends had called the attacker   ~ugly, "   had pushed her In the

     threshold before schools can intervene .                                                                                                                 hallway, had spread rumors about her, and had subjected her to threatening phone calls and internet messages.



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     WHO KNEW ABOUT THE BULLYING: From case-ttxase, there were differences among who was aware of the bullying                                      BULLYING TOLERATED: In a few cases, there was evidence that school officials knew about the bullying an attacker was
     experienced by the attacker. In almost half of the cases (n           = 16, 46%), at least one of the attacker's    parents was                experiencing, but there was no indication that t he school responded to address the bullying in any way. In other cases.
     aware that their child experienced bullying. In 16 cases (46%) a classmate was aware, and in 12 cases (34%) a school                           when school officials did respond to address the bullying, the responses were minor and ineffective, or the re sponses
     official was aware. In five cases (14%), there was evidence that all thre e groups knew that bullying was taking place.                        made the bullying worse.


           A 13-yea r-old student attacked classmates with a knife,                       Who Knew About the Bullying                                     A 16-year...ald student shot and injured his classmate and a teacher. Prior to the attack, the attacker had sought help from

           Injuring four. Classmates knew that the attacker had                                                                                           a teacher after being bulffed. In resp onse, the teacher told the attacker to •man   up .~   Th e attacker's mother later called the
                                                                             20
           experienced bullying for years and that he had                                                                                                 school about the bullying, but there is no evidence that school officials took any action to in tervene. The only intervention
                                                                            15
           threatened reve nge. The attacker's parents were aware of                                                                                      occurred after the attacker got into a fist fight with his bullies, after which the attacker was suspended. At his trial after the
                                                                            10
           the bullying, and the attacker had sought help from the                                                                                        shooting, several classmates testified that the attacker had been relentlessly bullied and teased.
           school nurse and school guidance counselor. but the
           situation did not improve.                                                                                                               ATTACKERS AS BULLIES: Just over one-third of t he attackers (n = 13, 37%) were bu llies themselves. Prior to their
                                                                                   ParonvGuardlan      Classmates         School Olflelals
                                                                                                                                                    attacks, these attackers bullied their classmates verbally, physically, and through cyber bullying. Nearl y all of the
                                                                                                                                                    attackers who had bullied others were also the victims of bull ying
     In three cases (9%), the attacker perceived himself as a victim of bullying, but no one else shared that perception. For
     example, one attacker noted in his journa l that he had been bullied, yet no evidence could be identified to indicate the                            A 1~year-o ld student shot and Injured one classmate in his high school ca feteria. The attacker had been teased and called

     attacker's parents, classmates, or school officials were aware of any bullying or the attacker's perceived victimization.                            names. He had also been struck with binders, punched, and pushed around. The attacker also had a history of buflying others.
                                                                                                                                                          He would Insult other students or scream at them, and had push ed, kicked, and slapped his classmates.

     Of note, there were 10 instances (29%) whe re evidence indicates at least one classmate knew t he attacker was being
     bullied. but no school officials were aware. This highlights the need for schools to establish climates that encourage
     both students and parents to share concerns with school staff. Providing students with a means to anonymously report
     bullying, while also ensuring that all students have at least one positive relationship with a school staff member, will
     help to encourage students to share actionable information when they observe incidents of bullying at school.


     WHERE BULLYING OCCURRED: Th e attackers experienced bullying most frequently at school, including on the bus.
     Bullying, however, was also experienced in private residences , In public spaces, online, and via phone calls and
     text messages.



                                                       Where Bullying Occured

                                         School
                                                   r==:;::::=--::==:::;:::==*==.....,125
            Private Residences and Public Spaces                       7




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     School Interactions & Relationships                                                                                                     ACADEMIC ASSISTANCE: Ten attackers (29%) received some form of academic assistance during their school career.
                                                                                                                                             This assistance took the form of special education services. tutoring received or recommended , working with an
     STUDENT-TEACHER RELATIONSHIPS: Over one-third of the attackers (n         = 13, 37%) had   at least one positive                        English as a Second Language (ESL) teacher, or a learning strategies teacher. Eight students had received an
     relationship with a staff member at their current school. Positive relationships were perceived from the student's                      Individualized Education Program (IEP). or a 504 plan.
     and( or teacher's perspective, and were evidenced by the attacker being well-li ked by teachers: a teacher writing a job
     recommendation for the attacker: teachers complimenting the attacker's academic work: and describing the attacker                       CHANGES IN PERFORMANCE: Several attackers (n = 7, 20%) displayed a negative academic change in the year leading
     as a model student. a good kid . or a pleasure to have in class. In addition. there were a few cases where a school                     up to their attack, which was most often displayed through declining grades. Due to the change, they also experienced
     staff member attempted to make a positive impact on an attacker's life prior to the attack, fo r example, by looking out                negative effects in other areas of their academics, for exam ple, fai ling a class, being removed from an honors or gifted
     for a student or checking in with them on a weekly basis to make sure they were okay.                                                   program, or being removed from a school sports team. For example, one attacker had ended his junior year with a 3 .0
                                                                                                                                             GPA (B average). Within two months of the attack, the attacker's GPA declined to a 1. 7, as he was earning D's and F's
     A similar number of attackers (n = 10, 29%) had a negative re lationship with at least one staff member at their                        in all of his classes during his senior year.
     curre nt school. Negative re lationships were characterized by the attacker previously disliking or threatening a teacher,
     not feeling supported by staff, not receiving assistance from school staff when they needed help, thinking teachers                     EXTRACURRICULAR ACTIVITIES: Nearly three-quarters of the attackers (n = 25 , 71%) had been involved in an
     were disrespectful, or the attacker being disrespectful toward teachers or refusing to follow directions. Only three                    extracurricular activity at school. in the community, or both. School extracurricular activities included sports. Junior
     attackers (9%) fe lt they had a neutral relationship with the staff at their current school, which was evidenced by the                 Reserve Officer Training Corps (JROTC), band , theater, orchestra, choir, debate team , art club, and Spanish club.
     attacker describing their re lationship with teachers as cordial.                                                                       Extracurricular activities in the community included sports, Boy Scouts, lifeguarding, volunteering, chess club, and
                                                                                                                                             religious activities.
     SOCIAL LIFE: The majority of attackers (n   = 29, 83%)   had at least one fri end, and at least four of the attackers (11%)
     were in a romantic relationship at the time of their attack. Only a few attackers (n = 5, 14%) appeared to have no                     NOTEWORTHY ACHIEVEMENTS: Just under half of the attackers (n = 16, 46%) accomplished at least one noteworthy
     friends or romantic re lationships." It is important to note that these relationshi ps were seen on a continuum. For                   achievement in their school career or in the community. These accomplishments were often related to:
     example, an attacker may have been described by others as having friends , but others also noted that the same
     attacker kept to himself.                                                                                                               • Academics: Attackers received honors or awards for academic achievement, were enroll ed in Advanced Placement
                                                                                                                                               (AP) courses or an honors/gifted/ talented program . were selected to skip a class or grade level due to high
     Academic Performance & Extracurricular Activities                                                                                         proficiency, were on the honor roll, and graduated early.

     Recent Academic Performance: Attackers' recent academic achievement was categorized as a positive, neutral , or
                                                                                                                                             • Extracurricular Activities: Attackers won first place on a school sports team . received a scholarship for music camp,
     negative performance fo r the school year in which they were enrolled at the time of the attack. For example, if the
                                                                                                                                               won an essay contest , and won a school talent show.
     attack took place in February 2012 , the academic performance was captured fo r the 2011-2012 school year. If the
     attack took place close to the start of the school year, the attacker's academic performance was captured for the
                                                                                                                                             • Soc/a/ Achievements: An attacker was elected by classmates as Homecoming Prince.
     previous school year. The academic performance of seven attackers could not be identified.

                                                                                                                                             • Other Personal Achievements: Attackers achieved a weight loss goal, became a deacon , earned a black belt in
     • Positive Performance: About one-third of the attackers (n = 12, 34%) demonstrated a positive academic
                                                                                                                                              karate, appeared on television , gained a large number of subscribers to a YouTube channel, and successfully
      performance t hrough one or more achievements. to include making the Honor Roll , earning grades of A's and B's, or
                                                                                                                                              completed a marksmanship qualification program.
      being enrolled in an Advanced Placement (AP) class or a gifted/ ta lented program.

     • Neutral Performance: Five attackers {14%} demonstrated a neutral academic performance. Those who were rated
                                                                                                                                            Disciplinary History
      as neutral included those who received a broader range of grades (e.g .. A's, B's , and C's), or attackers who were
      able to raise their fai ling grades into more average levels.
                                                                                                                                            Almost three-quarters of the attackers (n        = 25, 71%) received   some form of school disciplinary action in the five
                                                                                                                                            years prior to the attack. The behaviors that elicited disciplinary actions occurred along a continuum in terms of
     • Negative Performance: About one-third of the attackers (n = 11, 31%) demonstrated a negative academic                                severity, ranging from cheating or using profanity to threatening or engaging in physical assaults. As with many of the
      performance , evidenced by failing classes, repeating a grade, not completing homework, or performing below                           topics addressed in this report, the presence of these behaviors alone does not necessarily indicate that a student
      grade-level.                                                                                                                          will carry out a targeted school attack. However, gathering information about a student's disc iplinary history, along with

37                                                   PROTE CTI NG AM ERICA'S SCHOO LS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/ 20 1 9         PROTECTI N G AM ERIC A'S SC HOOLS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/2019                                                  38




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     other behaviors and circumstances , will assist school officials in identifying appropriate interventions to support the           CONSEQUENCES RECEIVED: Th e types of school discipline received as a result of these behaviors varied, and some of
     student and decrease the risk of harmful outcomes.                                                                                 the attackers received multiple actions for the same repeated behaviors. Twenty-five attackers (71%) received
                                                                                                                                        disciplinary action in t he five years prior to their attack. Th e level or severity of the discipline ranged from classroom
     BEHAVIORS RECEIVING DISCIPLINE: Disciplinary actions resulted from a wide range of behaviors in the school setting.                consequences (e.g., having the student's seat moved) to being expelled or arrested, and there were a few cases in
     Attackers were disciplined for the following types of behavior:                                                                    which an attacker was disciplined, but the type of discipline received was not specified in the attacker's school
                                                                                                                                        records. Attackers received the following forms of discipline:
     • Fighting: Fourteen attackers (40%) were disciplined for fighting at school. These incidents included fights on the
       school bus and hitting other students.                                                                                           • Suspension: Eighteen attackers (51%) had received at least one suspension from school. Suspensions included
                                                                                                                                          formal in-school suspensions (ISS) and out-of-school suspensions (OSS). as well as instances where a student was
     • Classroom Conduct: Twelve attackers (3 4%) were disciplined for behavior that affected the classroom environment,                  sent home from school, even if the school did not classify the discipline as a suspension. Attackers were issued
       including interrupting the teacher, causing a disturbance, using a cell phone , demonstrating a bad attitude, and not              suspensions for a broad range of behaviors, from disruptive behavior to death threats. The length of suspensions
       following directions.                                                                                                              also varied, from a half-day to multiple days.


     • Threatening/VIolent Behavior: Eleven attackers (31%) were disciplined for displaying threatening or violent behaviors                  A 16-year-o/d student shot and Injured   a classmate and a teacher In his high school science classroom. The attacker had been
       at school. This included having weapons on campus; angry outbursts; using vi olent language; threatening a teacher,                    previously suspended for five days after making threats about killfng other students on the school bus.
       the school, or classmates; drawing pictures that depicted killings; and sharing a note with classmates that implied
      the attacker was going to do something bad.                                                                                       • Parental Contact: Thirteen attackers (37%) received discipline in the form of parental notification. Parents we re
                                                                                                                                          contacted through letters sent home, documents requiring a parent signature, phone calls home, and parent
     • Academic Integrity: Seven attackers (20%) were disciplined for behaviors re lated to their academics, including                    meetings with school staff. Some. but not all, of t he meetings with parents involved the attacker as well.
      cheating on a test, failing to complete homework, and stealing another student's paper and claiming it as their own.
                                                                                                                                        • Conversations with Staff: Eleven attackers (31%) received discipline in the form of conversations with teachers,
     • Inappropriate Language: Six attackers (17%) were disciplined for using inappropriate language in school. This was                  administrators. or SROs. These meetings were either one-on-one or occurred in a group setting. In one case, an
      not limited to profanity, but also included the use of vulgar or abusive language, inappropriate comments, and                      attacker had a reentry meeting with school staff to discuss his behavior and plan for his return to school following
      name-calling towards teachers or classmates.                                                                                        a suspension .


     • Tardiness/ Truancy: Five attackers (14%) we re disciplined for being tardy to school or to class. Eight attackers (23%)
      were disciplined for truancy, which included skipping class, leaving class and not returning, leaving school without
      permission, and refusing to attend school.


     • Banned Substances: Four attackers (1 1%) were disciplined for behaviors involving banned substances at school,
      including selling and distributing marijuana, possessing cigarettes or a cigarette lighter, possessing drug
      paraphernalia, and being under the influence of alcohol or drugs.


     • Harassment/Bullying: Four attackers (11%) were disciplined for bullying and harassing behaviors, which included
      groping a female classmate and pulling down a classmate's pants.


     • Other Discipline: Beyond the categories described in this section, attackers were also disciplined for gambling ,
      vandalism, riding a scooter on school property, violating the school dress code, riding a different school bus without
      permission, and miscellaneous misconduct incidents.




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                                                                                                                                           Threat Assessment
     • Crim inal Charges or Arrests: Eight attackers (23%) were arrested or criminally charged at school for various
       infractions, including possession of marijuana , simple assault, disrupting public school , affray, t respassing, and               A multidisciplinary school threat assessment team provides schools with a structured approach to identify students
       dist urbing the peace.                                                                                                              exhibiting th reatening or concerni ng behavior, gather information to asses s if the student poses a risk of harm to
                                                                                                                                           him/ herself or the school community, and manage the risk through appropriate intervent ions, resources, and
     • Referrals for an Evaluation/ Assessment/Support Servi ces: Eight attackers (23%) we re referred to a t eam or mental                supports. 30 A threat assessment should focus on a range of behaviors. from lower-level concern s (e.g., self-harm .
       healt h professional for an evaluation, assessment , or support services. These included referrals for a threat                     depressed mood, bullying) to imminent or direct threats of violence. It Is critical t hat student threat assessments be
       assessment, risk assessment, and mental health evaluat ion. Referrals were also made to school counselors and                       multidisciplinary and focused on providing robust Interventions to students assessed as posing any level of risk to
       school psychologists . and some students were pl aced on behavi oral cont racts or behavioral intervention plans.                   themselves or others.

     • Formal Documentation: Eight attackers (23%) received discipline in the form of formal documentation in t heir                       Four attackers in this study (11%) were refe rred to their school 's threat assessment team prior to their attack. In each
       school record. Schools used formal documentation to create a record of behavior in t he form of behavioral referra ls,              of th ese four cases, a stud ent or teacher at t he school reported to someone in a posit ion of authority that the
       discipline referrals, school hearings , and progress repo rts.                                                                      attacker had made a direct threat toward classmates or school staff.

     • Detention: Eight attackers (23%) received school detent ion or lunch detention, or were req uired to attend Sat urday
       school for their behavior.                                                                                                                                                                              Was a threat
                                                                                                                                                                        Who was the        Who reported                         When was the
                                                                                                                                                                       threat directed                         assessment        assessment        What was the outcome?
                                                                                                                                                                                            the threat?
                                                                                                                                                                           toward?                             completed?        completed?
     • Classroom Consequences: Seven attackers (20%) rece ived discipline in t he fo rm of classroom consequences.
      These consequences included placing the attacker in tim eout, modifying assignment Instructions, confiscati ng a cell                                                                                                                       Assessed as a low level of
                                                                                                                                                                                                                                 Within 1 year     risk: parents monitored
       phone, moving the attacker's seat, removing the attacker from the class temporarily, or transferring the attacker to a                           Case 1         Staff Member           Teacher             Yes
                                                                                                                                                                                                                                                     student; student saw
                                                                                                                                                                                                                                prior to attack
      different class permanently.                                                                                                                                                                                                                 psychiatrist once a week


                                                                                                                                                                                          The threatened                         Within 1 year    Out-of-school suspension;
     • Expulsion: Six attackers (1 7%) had been expelled from school. An expulsion included being removed from t he                                     Case 2        Specific Student                            Yes
                                                                                                                                                                                              student                           prior to attack       Intervention plan
      school system for a predetermin ed number of days or permanently removed from the school district. Expulsions
      resulted from an accumulati on of multiple suspensions, fighting, threatening harm to other students or self, and                                                                                                                            Assessed at risk level 4
                                                                                                                                                                          Speci fic      Teachers and 15                        With in 1 yea r    out of 5, where 1 is the
      bri nging a weapon to school.                                                                                                                     Case 3                                                    Yes                                    highest risk;
                                                                                                                                                                      Student/School         students                           prior to attack
                                                                                                                                                                                                                                                     behavior/ academic
                                                                                                                                                                                                                                                           contract
     • Dther Consequences: Seven attackers (20%) received other school disciplinary actions, including removal from the
      football team , having t o write a statement about t heir behavior, and having a scooter confiscated.                                                                                                                                         Staff dete rmined the
                                                                                                                                                                         Th reat 1 -      The threatened                        Within 3 years
                                                                                                                                                                                                                  No                                student did not meet
                                                                                                                                                                         Students            student                            prior to attack
                                                                                                                                                                                                                                                   criteria to be assessed

                                                                                                                                                        Case4                                                                                       Assessed as posing a
                                                                                                                                                                                                                                                    threat; expelled tor 21
                                                                                                                                                                         Threat 2 -       The threatened                        Within 2 years
                                                                                                                                                                                                                  Yes                             days; returned to school
                                                                                                                                                                         Students            student                            prior to attack
                                                                                                                                                                                                                                                   for the start of the new
                                                                                                                                                                                                                                                          schoof year




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     Information was identified regarding some of the gaps and limitations in how the threat assessments in these four                  These findings support previous Secret Service research projects examining targeted violence in other contexts (e.g.,
     cases were conducted. For example. an independent review of one case (Case 1) was requested by th e school                         mass attacks in public spaces"'· which routinely find that the vast majority of attackers displayed behaviors that
     superintendent and the local board of education following the attack. The resulting public report identified several               elicit concern in others prior to their attack. These behaviors provide opportunities for school staff, law enforcement,
     limitations in how the attacker's threat assessment had been conducted." According to the report, these                            famil ies, and friends, to recognize students who are in crisis and intervene as appropriate. In this report, concerning
     gaps included:                                                                                                                     behaviors refer to action s an attacker took, communications an attacker made , or other observable acts displayed by
                                                                                                                                        an attacker prior to their attack.
             " ... data sources used for the threat assessments were not specified on the form and many forms lacked
             specific behavioral information. Forms varied in completion and therefore it was also sometimes difficult to see           Range in Severity
            the reasoning behind assigned risk levels."
                                                                                                                                        In most cases, attackers displayed a behavior that was so concerning that it shou ld have been met with an immediate
             "All steps of the [school district's] process as outlined by [the school district] do not appear to have been
                                                                                                                                        response , including a threat assessment. Th ese behaviors are seen as being objectively concerning or prohibi ted.
            followed by the [school] staff in the threat assessment of [the attacker]."
                                                                                                                                        Examples include threats to cause harm. violent acts, bringing weapons to school, and suicidal statement s. Of note,
             "There was only a two-person team in the threat assessment of [the attacker] . The SRO was not involved at
                                                                                                                                        references to suicide , though not necessarily an indication of potential violence, are concerning and require immediate
            the [threat assessment] meeting."
                                                                                                                                        intervention to protect the student involved . Th irty-one attackers (89%) had displayed objectively concerning or
            "No interviews were conducted with [the attacker] or his family outside the meeting process."                               prohibited behaviors that were observed by others. These behaviors were reported to the attackers ' parents (n = 15,
                                                                                                                                        43%), school staff (n   = 14, 40%), and   other officials (n   = 8, 23%), including law enforcement. In two-thirds of the
     Avai lable court reco rds related to Case 3 describe a threat assessment process that appeared comprehensive in                    cases (n = 23, 66%) , at least one prohibited behavior was observed by classmates or adults that was not reported.
     regards to the volume of information gathered by the team about the concerning student. Of the 15 students who
     reported the attacker's threatening behavior on the school bus, seven filed written incident reports to the school.                Most attackers also displayed a range of lower-l evel concerni ng behaviors that observers may not have recognized as
     As a result. the attacker was suspended for five days, and a threat assessment was initiated. Th e attacker met with               concerning without knowing the full context of the situation. These behaviors are seen as being part of a constellation
     the assistant principal and the school psychologist, and the threat assessment team conducted interviews with the                  of lower-l evel behaviors, and may not warrant an immediate safety response. Nonetheless, they should elicit some
     attacker and his fami ly, classmates, and teachers. The SRO checked the student's residence for weapons. where                     level of concern. Examples of these behaviors include a depressed or angry mood, conflicts between classmates, and
     the officer only located paintball guns. The assessment revealed that the attacker had spoken about his "dream of                  an interest in violent topics. When these types of behaviors are assessed in context with other factors . the level of
     killing students," was a loner. and had concerned the assistant principal so much that "she made a point to check on               concern could increase. Thirty attackers (86%) exhibited a constellation of such lower-level behaviors.
     him regularly and asked how he was doing almost daily." Despite this thorou gh and appropriate information-gathering
     process, the student was deemed to be low risk. The school rated him a "4" on a 5-point scale. where "1" would have
     indicated high risk.


     Concerning Behaviors

     Every attacker Included In this analysts (n = 35, 100%) exhibited concerning behaviors prior to their attack. In all
     but two of these cases (n = 33, 94%), concerning behaviors were displayed at school. About three-quarters of the
     attackers (n = 27, 77%) displayed concerning behaviors at home or in the community, and three-quarters displayed
     them online (n = 26, 74%).


     Concernin g behaviors ranged from relatively minor activities, to actions that elicited fear in those who observed them .
     For example. some attackers made statements that were simply out of character for the attacker or displayed other
     minor changes in behavior, while in other cases, attackers made direct threats of violence or brought weapons to
     school. In most of the cases (n   = 28, 80%), the attacker's behavior elicited concern   from bystanders regarding the
     safety of the attacker or those around them.




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     Common Themes                                                                                                                        • Suicide and/or Self-harm: Half of the attackers (n = 19, 54%) had communicated about, or engaged in behaviors
                                                                                                                                            related to, suicide or self-harm. In some cases, multiple friends knew that the attacker was suicidal. In other
     The analysis revealed 10 common themes among the concerning behaviors that were displayed by the attackers,                            cases , evidence of self-harm was noted by friends, parents, and/or school staff.
     meaning those behaviors that were observable to others. For example, while 28 attackers had experienced bullying,
     only 12 openly spoke about it. Each of the attackers in this study exhibited between two and eight of the below listed               • Interest In Violence: About one-third of attackers {n ;;;: 13, 37%) spoke or wrote about t heir vio lent interests.
     th emes, with an average number of ffve.                                                                                               including topics related to previous school attacks, Hitler/Nazism, and other violent themes. Sometimes these
                                                                                                                                            interests were shared openly, while in other instances th e attacker was more subtle (e.g. , viewing photos of
     • Threats to the Target, Others, and/or Intent to Attack: Most of the attackers (n   = 29, 83%) shared verbal , written,               previous school attacks while in th e cafeteria).
       visual. or video communications that referenced their intent to carry out an attack, threatened the target, andjor
       threatened others.                                                                                                                 · other common themes among the concerning behaviors included attackers talking about being bullied
                                                                                                                                            (n   = 12, 34%), poor grades or attendance that elicited concerns from parents or school staff (n = 10, 29%), and the
     • Intense or Escalating Anger: Thre e-quarters of the attackers (n = 26, 7 4%) displayed behaviors or shared                           attackers harassing others (n = 5, 14%). In t hree of the five cases involving harassment, the victim of the
       communications indicating significant or increasing anger. These behaviors included having angry outbursts at                        harassment was later targeted in the attack.
       school or engaging in aggressive acts at home.


     • Interest In Weapons: Nearly three-quarters of the attackers (n = 25, 71%)                                                                                                                  Timing of Concerning Behaviors
       stockpiled weapons or communicated about weapons in a way th at                                                                            Th ree-quarters of the a ttackers (n = 2 6, 74%) displayed their mos t rece nt concerning behaviors within the two days
                                                                                                 Common Themes of                                prior to their attack. Nearly all of the attackers (n     = 32, 91%) shared or exhibited such behaviors within one month of
       indicated an unusual or concerning level of interest. For some, their
                                                                                                Concerning Behaviors                                 their attack. It should be noted, howe ve r. that these behaviors were nat necessarily new, as nearly half of the
       interest in weapons was expressed through drawings or artwork, while
                                                                                                                                                     a ttackers (n = 14, 40%) had bee n displaying concerning behaviors far more than a yea r prior         [O   their attack.
       others had developed a reputation among classmates for having                            Threats to the target,
       an intense interest in guns, knives, or explosives. A few attackers had              others, and/ or intent to attack
       built and detonated explosives.
                                                                                              Intense or escalating anger
                                                                                                                                         Communications
     • Sadness, Depression, or Isolation: Nearly two-thirds of the attackers                      Interest in weapons
       (n = 22 , 63%) either spoke about their sadness. depression, or loneliness,                                                       Among the concerning behaviors displayed by an attacker, the
                                                                                                 Sadness, depression,
       or appeared to be experiencing these feelings through their observable                        or isolation                        co mmuni cations they made to others provide particula r insight
       behaviors. Some attackers confided in others about their feelings , or                                                            into their thinking, motivations , and intention. The majority of
                                                                                                  Changes in behavior                    attackers shared concerning communications verbally through                            Electronic message
       wrote about them online or in school assignments. Bystanders also                                                                                                                                                                                    20              57%
                                                                                                    or appearance                                                                                                               to specific person (s)
      observed the attackers isolating themselves , withdrawing from others ,                                                            in-person statements (n = 3:1., 89%). About half shared
      appearing sad, or crying.                                                                Suicide and/ or self-harm                 concerning electronic messages sent to a specific person or                            Online posting              17              49%
                                                                                                                                         persons (n    = 20, 57%) or posted online to groups or the general
                                                                                                  Interests in violence                  public (n = 17 , 49%) . One-third of the attackers (n = 12, 34%)                       School assignments          12             34%
     • Changes In Behavior or Appearance: More than half of t he attackers
      (n   = 20 , 57%) exhibited observable changes   in demeanor, appearance,                    Talk of being bullied
                                                                                                                                         conveyed concerning thoughts through school assignments (e.g. ,
                                                                                                                                                                                                                                Phone                        1              3%
      or routin e prior to their attack. Examples included increased apathy about                                                        writing essays on violent topics).
      life, decreased effort on school work, withdrawing from activities,                            Concerns over
                                                                                                  grades/ attendance
      decreased personal hygiene. spending time in new places or with new                                                                        A 13-year-o/d student injured four classmates using a knife. Though disarmed by classmates, he was later found to have also

      people, changes in eating and sleeping patterns, and changes in online                       Harassing others                              brought a blowtorch, gasoline container, water bottle filled. with a clear flamm able liquid, firecrackers, a bottle of vodka, a

      behaviors (e.g., changing profile picture to something unusual for                                                                         mask used to prevent the inhalation of fumes, and several other knives. About one week prior, the attacker posted a video

      the person).                                                                                                                               on You Tube titled, "Testing my   Blowto rch.~   In which he lit the flame on a gas blowtorch, presumably the same one he brought
                                                                                                                                                 during the attack.




45                                                    PRO TECTING AMERICA'S SCHOOLS/ ANALYSIS Of TARGETED SCHOOL VIOLENCE/ 201.9         PROTEC TI NG AM ERICA'S SCHOOLS/ ANALYSIS OF TARGETED SCHOOL VIOLENCE/ 2019                                                                 46




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     Most attackers (n = 27, 77%) threatened their targets or shared their intentions to carry out an attack. In two-thirds of                                               themselves or others. In fewer than half of the incidents (n = 14, 40%), adults received information about what a
     the cases (n = 23, 66%), those communications gave some level of imminence to the attack. About 90% of attackers                                                        bystander had observed. These included classmates telling a parent or school staff member (n = 8, 23%). or adults
     who selected specific targets had made a threat prior to the attack (see Appendix A: Statistical Analyses).                                                             talking to other adults to discuss their concerns about the attacker (n = 14, 40%). Ten cases (29%) involved other
                                                                                                                                                                             types of responses, including:
           A 15-year..old student fatally shot a classmate In her high school. The night before, the attacker texted a friend sta ting. "I can't
           take It anymore. I wa nt to kill myself so bad, the pain she causes hurts too bad. I just want to blow my brains out." Th e next                                  • Parents: Attackers' parents searched rooms for drugs , set a new curfew, confi scated an attacker's pellet gun or
           morning, she texted a friend at another high school saying that she was going to shoot someone and go to ]all. Within an hour                                       knife, gave their son a punching bag to help him deal with anger. fi led reports of their concern to the school district,
           before the shooting, the attacker told a friend In class that she was going to make the victim feel "'pain," showed the classmate                                   or asked the school to develop an IEP for their child,
           her handgun, and began crying.

                                                                                                                                                                             • School Staff: School personnel removed the student from an activity, made the student throw away violent drawings ,
                                                                                                                                                                               sent a school memo to other school staff informing them that the attacker and the victim were not to be left alone
                                                                  Timing of Threats                                                                                           together, developed plans to escape the school if t he student were to do something violent, or considered
        Two-thirds of the attackers (n = 23 , 66%) communicated their intent to attack or threatened the target within two                                                    resignation from the school to protect himself and the community,
        weeks of the attack, and half (n = 19, 54%) did so within two days. Over one-third of the attackers (n = 13, 37%)
                         communicated t heir intent or threatened the target within an hour of the attack.                                                                   • Students: Classmates warned peers of the attacker's intentions if they were viewed as potential targets and filed
                                                                                                                                                                              reports of their concern to the school district.


     Final Communications: Half of the attackers (n = 19, 54%) prepared or delivered fi nal communications prior to their                                                   In just under half of these cases (n = 16, 46%), the observed behavior elicited a significant respo nse , including school
     attack. While some attackers kept these communications to t hemselves (e.g., left a suicide note in their bedroom),                                                    staff call ing the police in response to a criminal act or concern for safety, school staff suspending or expelling the
     over one-third of the attackers (n = 13, 37%) sent these communications to others. Final communications included                                                       attacker, or family members getting the attacker a mental health evaluation or therapy. In one case, the attacker
     manifestos, journal entries, goodbye messages to friends and family (sent by text message, email or internet posts),                                                   himself asked for mental health treatment after police responded to a physical altercation between him and his
     and wills or funeral requests.                                                                                                                                         mother at home.


           A 15-year-old student fatally shot four of his classmates and Injured one other in his high school cafeteria, before killing                                     In twc>-thlrds of the attacks (n = 23, 66%), there was at least one communication by the attacker about his or her
           himself All of th e victims were his close friends or cousins. Th e day prior, he tweeted, "It won 't last . .. lt'll never   las t ~   and texted               intent to attack, or another observed threatening behavior, to wh ich there was not a response . Some of the
           his ex-girlfriend asking her to meet after school so he could say goodbye. He also sent her a Facebook message that said,                                        reasons provided by bystanders for not reporting their concerns, included:
           "read my messages tomo rro w from 7:1.5 to       12:30.~   Th e attacker posted on lnstagram, "Tell my mom I Jove       her, ~   and included
           an emo)llmage of a gun. On the day of the attack, the attacker drafted a message on his phone titled, "My funeral                       shit, ~   which           • Classmates believed that the attacker was joking, or they dismissed the threat, because the attacker had a
           outlined how his funeral should be handled. Minutes before the shooting, he sent the prepared text message about his funeral                                       history of making threatening statements and had never done anything before.
           to 1 4 of his fa mlfy members. He also texted his father, telling him, "Read the paper on my bed. Dad. I love          you. ~
                                                                                                                                                                            • Classmates believed that they had helped calm the attacker down enough that they would not act on the
     Three of these attackers also took other actions that were akin to final acts , including one attacker who deleted his                                                   suicidal or homicidal statements, or classmates had checked in on t he attacker and decided he or she was fine.
     email account, one who hugged her fathe r goodbye when being dropped off at school (which she had never done
     before), and another who said goodbye to his pets.                                                                                                                     • Classmates feared what the attacker may do to them if they reported what they knew.


     Response to Concerning Student Behaviors                                                                                                                               • Classmates intended to try to help the attacker with his or her problems, but the attack occurred sooner than
                                                                                                                                                                              they expected.
     The response elicited from those individuals who observed the attackers' concernin g behavior varied. The more
     cautious responses included actively avoiding the attacker (n = 7, 20%) or expressing concern to other peers                                                           • Classmates believed the attacker would do something violent, but did not think it would happen at school.
     (n = 8 , 23%). In two-thirds of t he attacks (n = 23, 66%). someone approached the attacker at least once to ask if t he
                                                                                                                                                                            • A teacher assumed that an administrator would take action, because the administrator had observed the same
     attacker was okay, offer help, or attempt to dissuade the attacker from engaging in any harmful acts towards
                                                                                                                                                                              concerning behavior that the teacher had witnessed.


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                                              PART Ill: IMPLICATIONS                                                                           Key Findings and Implications

     Like the February 14, 2018 shooting at      Ma~ory   Stoneman Douglas                                                                     There Is no profile of a student attacker, nor Is there a profile for the type of school that has been targeted.
                                                                                        States Mandating Threat Assessment
     High School in Parkland, FL. this analysis suggests that many of
     the 41 attacks described in this report could have been prevented.                In 2013, VIrginia became the first state to             Attackers va ried in age , gender. race , grade   ~   academic pe rfo rmance, and soci a l characte ri stics. The use of a
                                                                                         legislatively mandate the use of th reat              srud~ rofile    or checklist does not yjeld accu rate or useful results when determining-the ris k a student poses for
     Like the Parkland attacker, many of the attackers in this study had a
                                                                                       assessment teams in K-12 schools under                 conducting a school attack. Similarly, there was no identified profile of the type of school impacted by targeted
     histo ry of violent, th reatening, and other concerni ng behavior; prior
                                                                                                     state law.                               violence, as schools va ried in size, location, and teacher to pupil ratio. Rath er th a n fOciJsi ngOh a set of traits or
     contact with law enforcement; instability in the home; access to and
     inappropriate interest in weapons; or issues related to psychological,                                                                   cha racteristics, a threat assessmenf process should foc us on gathering relevant informa tion about a student's
                                                                                         In more recent years, other states have
     emotional, or behavioral factors. While every situation is un ique and                                                                   bel1aviors, situational factors. and circumsta nces to assess the risk of vio lence or other l1armful outcomes.
                                                                                         passed similar laws that require threat
     should be treated as such, one common factor across all of these                  assessment teams at the school or district
                                                                                                                                              Attackers usually had multiple motives, the most common Involving a grievance with classmates.
     tragedies is that there appears to have been an opportunity to iden-             level. Some additional states have proposed
     tify and intervene with the attacker before violence occurred.                                 such legislation.
                                                                                                                                              Discovering a student's motive for engaging in concerning behavior is critical to assessing the student's risk of
                                                                                                                                              violence , and it allows the threat assessment team to intervene and develop management strategies that can redirect
     Tl1rea! A.ssessmenli.s the best prac tice for g_reven tingtargeted violence. The goal of a threat assessment Is to
                                                                                                                                              the student away from violent choices . This find ing also high lights the importance of providing training on conflict
     identify students of concern , assess their risk fo r engaging in violence or other harmful activities, and deliver
                                                                                                                                              mediation and coping skills for students. When multiple motives are involved, the school may need to implement
     intervention strategies to manage that risk. Schools should Implement a threat assessment process In conjunction
                                                                                                                                              multipl e strategies to red uce the risk of unwanted behavior.
     with the most appropriate physical security measures as determined by the school and its community.
                                                                                                                                              Most attackers used firearms, and firearms were most often acquired from the home.
     Threat assessment procedures should recognize that concerning student behaviors occur along a continuum, from a
     constellation of lower-level concerning behaviors (e.g. , depressed mood and behavior changes) to behaviors that are                     The findings of thi s report illustrate that students can be ve ry resou rcefUTTrlaccessing firearms stored- i"Pithe home.
     objectively concerning or prohibited (e .g., threats of harm and physical assaults). Many of these behaviors that elicit                 Wh ile ma ny of the attackers used unsecured firearms, otl1ers were ab le to gain access to firearms that were secured
     concern may not involve physical violence or criminal acts, but still require an assessment and appropriate                              in a safe. It sh ould be further noted, however. th at some students perpetrated attacks using knives mstead of
     intervention. The threshold for Intervention should be low, so that schools can Identify students In distress before                     firearms. Th erefore, a th reat assessment should explore if a student has access to any wea pons . with a particular
     their behavior escalates to the level of eliciting concerns about safety.                                                                focus on weapons access at home. Schools, parents. and law enforcement must work together rapid ly to restrict a
                                                                                                                                              student's access to weapons in those cases when a student poses a risk of harm to self or others.
     The threat assessment process begins with establishing a comprehensive ta rgeted vi olence prevention plan, as
     described in Enhancing School Safety Using a Threat Assessment Model: An Operational Guide for Preventing                                Most attackers had experienced psychological, behavioral, or developmental symptoms.
     Targeted School Violence. The guide provides a framework for estab lishing an effective threat assessment process
     intended to proactively intervene with students who may pose a risk of violence or other unwanted behavior. The steps                    A recently published study that surveyed a sample (n = 16,000) of 10th-12th grade students found that providing or
     include establishing a multidisciplinary threat assessment team of highly trained school personnel; defining                             increasing mental health services for students was the most common factor selected by students as something that

     concerning and prohibited behaviors; establishing and providing training on a central reporting mechanism ;                              would increase fee lings of safety at school, selected by more than one-third (38%) of students surveyed' ' The findings

     determining the threshold for law enforcement intervention; establishing threat assessment procedures and                                of this survey, and those highlighted in this report, illustrate the importance of ensuring that students and parents
     investigation protocols; developing risk management options; creating and promoting a safe school climate; and                           have access to, and are informed about, mental health resources, socia l services, and substance use treatment. It

     providing training for school personnel, students, parents, and law enforcement.                                                         should also be noted that many of the attackers in this study had received prior mental health treatment, illustrating
                                                                                                                                              that mental health treatm ent should be viewed as a component of managing risk.
     The findings in this report underscore the importance of establishing a targeted violence prevention plan. A
                                                                                                                                              Half of the attackers had Interests In violent topics.
     multidi sciplinary threat assessme nt team, in conjunction with the app ropriate po li cies, too ls, and training , is the best
     practice for identifying, assessing, and managing students who elicit concern. Major fi ndings. and their implications on                Half of the attackers in this study had displayed an unusual or concerning interest in violence or weapons. These
     the threat assessment process , are highlighted here.                                                                                    types of interests, without an appropriate explanation, should initiate further information gathering, assessment, and



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     management by school personnel. For example, a student who is preoccupied or fixated on topics like the Columbine                    at the time of their attack. If a student elicits concern or poses a risk of harm to him/ herself or others, removing the
     shooting or Hitler, as was noted in several of these cases, may be the focus of a school threat assessment to                         student from the school may not always be the safest option . In other instances , disciplinary actions will be deemed
     determine how such an interest originated and if the interest is negatively impacting the student's thinking                         necessary. To help in making the determination regarding appropriate discipline , schools should employ disciplinary
     and behavior.                                                                                                                         practices that ensure fairness, transparency with the student and fami ly, and appropriate follow-up. For example, the school
                                                                                                                                          should make efforts to maintain a positive rapport with the student and fami ly, even during those instances of suspension
     All attackers experienced social stressors Involving their relationships with peers and/or romantic partners.                        or expulsion. This might include checking in on the student duri ng his or her time out of school and taking steps to ensure
                                                                                                                                          a positive transition for the student when they return.
     Every attacker in this study experienced at least one social stressor, frequently re lated to bullying. Many attackers
     experienced stressors in other aspects of thei r lives, as well , including fami ly, academics , or school discipline. In            All attackers exhibited concerning behavlo1s. Most elicited concern from others, and most communicated their intent
     addition to adopting and enforcing zero-tolerance policies on school bullying, schools should also provide students                  to attack.
     with strategies related to stress management and the development of coping skil ls. All school personnel. including
     teachers, administrators, and other staff members, should be trained to recognize signs of a student in crisis.                      Th e initial indicators of a student who was in distress or exhibiting concerning behavior were often observed by peers.

     Additional training shou ld focus on crisis intervention, de-escalation. and suicide prevention.                                     school staff, fami ly members , or others in their immediate community systems. The behaviors that elicited concern ranged
                                                                                                                                          from a constellation of lower-level concerns to objectively concerning or prohibited behaviors . Most of the attackers
     Nearly every a ttacker experienced negative home life factors.                                                                       communicated a prior threat to their target or communicated their intentions to carry out an attack. In many of these cases,
                                                                                                                                          someone observed a threatening communication or behavior but did not act, either out of fear, not believing the attacker.
     The negative home life factors experienced by many of the attackers included parental divorce or separation, drug use                misjudging the immediacy or location, or believing they had dissuaded the attacker. These findings continue to highlight the
     or criminal charges among fami ly members, or domestic abuse. While none of the factors included here should be                      importance of encouraging students, school personnel, and family members to report troubling or concerning behaviors, in
     viewed as predictors that a student wi ll be violent, past research has identified an association between many of these              order to ensure that t hose in positions of authority can intervene. These same community members need to be tra ined on
     types of factors and a range of negative outcomes for children. In some cases, school staff may not be aware of such                 identifying risk factors for student violence and students in crisis.
     home life factors that may be impacting how a student behaves at the school. Information-sharing among agencies
     is cru cial in helping to address the impact of negative home experiences. For example, some cities and states have                  Conclusion
     enacted laws that require law enforcement or other emergency care providers to inform school officials if a student is
     involved in, or present at, the scene of a traumatic event. Information sharing among schools , law enforcement, social              NTAC's experience delivering training and consultations for public safety entities has provided a first-hand account of what
     services, and courts can help to ensure that the students most in need of additional resources do not                                works, and of the cha llenges facing schools, law enforcement, and others tasked with keeping communities safe.
     go unrecognized.
                                                                                                                                          NTAC knows that many of the recommendations offered in this report, and in NTAC's Enhancing School Safety Guide , can
     Most attackers were victims of bullying, which was often observed by others.                                                         be implemented by schools and their local partners right away. However, some key strategies for keeping schools safe
                                                                                                                                          can best be implemented only with the appropriate resources, policies, and authorities to support the effort. For example.
     In many cases, t he school was aware that the attacker had experienced bullying, but the responses to the bullying                   several states have recently passed laws requiring schools or school districts to implement multidisciplinary school threat
     varied. In some cases, the school did little to intervene or intervened in a way that caused the bullying to worsen .                assessment teams. Similarly, some states have passed laws to create statewide, anonymous reporting tools, following the
     Stu dents should be encouraged to report bullying that they experience or observe, both in and out of school. Students               model of Safe2Tell"' Colorado .
     should also be provided an avenue to anonymously report such concern s, so that they can do so without fear of
     reprisal from classmates. Further, it is critical that schools implement comprehensive programs designed to promote                  In some cases, grant funding may be available to support these efforts . For example, the STOP School Violence Act of
     safe and positive school climates, where students feel empowered to support the social and emotional wellbeing                       2018 provides the U.S. Department of Justice's Community Oriented Policing Services (COPS) Office the authority to

     of classmates.                                                                                                                       provide monetary awards directly to states, units of local government, or Indian tribes to improve security at schools
                                                                                                                                          through evidence-based school safety programs, specifically including school threat assessment programs and anonymous
     Most attackers had a history of school disciplinary actions, and many had prior contact with law enforcement.                        reporting systems' ' Some individual states have provided similarly intended grants to their schools and school districts,
                                                                                                                                          as well.
     Most attackers had a history of receiving school disciplinary actions resulting from a broad range of inappropriate
     behavior. The most serious of those actions included the attacker being suspended, expelled, or having law                           The safety of children in school is a topic t hat everyone agrees on. Ensuring t heir safety requires leadership and vision. as
     enforcement interactions as a result of their behavior at school. An important point for school staff to consider is that            well as common sense. A thorough review of the findings contained in this report should make clear that tangible steps can
     punitive measures are not preventative. For example, two of th e attackers in this study were suspended from school                  be taken to reduce the likelihood that any student would cause harm . or be harmed, at school.

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                           CREATING A TARGETED VIOLENCE PREVENTION PLAN
                                                                                                                                                                                                         FINDINGS TABLE
       In July 20 18 , the Secret Service National Threat Assessment Center (NTAC) released Enhancing School Safety
                                                                                                                                                           Gender                                                               83% Male. 17% Female
       Using a Threat Assessment Model: An Operational Guide for Preventing Targeted School VIolence, which outlined
        eight actionable steps f or implementing a com prehensive targeted violence prevention plan in schools. The                                        Age : average; mnge                                                  15 I 12-18

        guide, which is available on the Secret Service public website, provides a framework for schools to Identify,                                      Disposition: charged                                                 20 as adults, 10 as juveniles, 2 as both
                    assess, and manage students who pose a risk of violence or other harmful behavior.                                                                  deceased                                                7 suicides , 2 by law enforcement
                                                                                                                                                           Backgrounds (n = 35)

     Step 1: Establish a multidisciplinary threat assessment team of school personnel including faculty, staff.                                            Substance use/ abuse                                                      49%
              administrators, coaches, and available school resource officers who will direct, manage, and document                                        Contact with law enforcement                                              49%                     --
              the threat assessment process.                                                                                                                                                Arrest s or criminal charge(s):   31%
                                                                                                                                                                                                            other context:    29%

     Step 2: Denne concerning behaviors , including those that are objectively concerning or prohibited, which should                                      Mental health symptoms                                                    91%
             trigger an immediate intervention (e.g .. threats, violent acts, or weapons on campus), and other                                                                                            Psychological:      69%
             lower./evel concerning behaviors (e.g., depressed mood, Interest in violent topics , or conflicts                                                                                               Behavioral :     57%
             between classmates).                                                                                                                                                           Neurologtcaljdevel opmental:      20%

                                                                                                                                                           Mental health treatment                                                   5 4%

     Step 3: Establish and provide training on a central reporting system, like a smartphone application . an online                                       Bullied                                                                   80%
             form. or a dedicated school email address or phone number. Ensure that it provides anonymity to                                                                                               Bullied others:    37%
              those reporting concerns, and is monitored by personnel who will follow-up on all reports.                                                   School disciplinary histories (top 3 of 12)                               71%
                                                                                                                                                                                                                Fighting:     40%
                                                                                                                                                                                                      Class misconduct:       34%
     Step 4: Determine the threshold for Jaw enforcem ent Intervention especially if there Is a risk of harm to self
                                                                                                                                                                                      Threaten ing/aggressive behaviors:      31%
              or others.
                                                                                                                                                           Suspended , expelled, or raw enforcement intervention                     60%
                                                                                                                                                           Investigative Themes (n = 35)
     Step 5: Establish threat assessment procedures that include practices fo r maintaining documentatio n,
                                                                                                                                                           History of weapons use                                                    77%
              identifying sources of information, reviewing records, and conducti ng interviews. The assessment
                                                                                                                                                           History of anger or aggres sion                                           74%
              should be guided by an understanding of the thinking and behavior observed in past school
                                                                                                                                                                                              History of violent behavior:    51%
              attackers, as described In Protecting America 's Schools: A U.S. Secret Ser vice Analysis of Targeted
                                                                                                                                                           Violent Interests                                                         49%
              School VIolence.
                                                                                                                                                           Home Hfe factors (top 3 of 8)                                             9 4%

                                                                                                                                                                                        Divorce; se paration of parent(s):    71%
     Step 6: Develop risk management options to enact. once an assessment Is complete. Crea te individualized
                                                                                                                                                                                                                 Finance:     69%
              management plans to mitigate identified risks. Notify Jaw enforcement immediately if the student is                                                              Arrest/incarceration of family member(s):      54%
              determined to pose an imminent risk of harm to self or others. Take steps to ensure the safety of
                                                                                                                                                           Stressors (top 3 of 8)                                                    100%
              potential target s, create a situation less prone to violence, redirect the student's motive, and reduce
                                                                                                                                                                                                                  Social :    100%
              the effect of stressors.                                                                                                                                                                            Family:     91%
                                                                                                                                                                                Academic or school discipl inary Issues:      89%
                                                                                                                                                          Concerning behaviors (top 5 of 1 0)                                        100%
     Step 7: Crea te and promote a safe school clima te built on a cultu re of safety, respect, trust, and emotional
             support for students. Encourage communication, Intervene In confl icts and bullying. and empower                                                                                   Intent to attack/ threats:    83%
                                                                                                                                                                                                                   Anger:     74%
             students to share their concerns.                                                                                                                                                          Weapon s-related :    71 %
                                                                                                                                                                                                             Depression :     63%
                                                                                                                                                                                                      Behavior changes:       5 7%
     Step 8 : Provide training for all stakeholders, Including school personnel , students, parents, and
             law enforcement.                                                                                                                             Anal communications or gestures                                            54%
                                                                                                                                                          Elicited concern about safety                                              80%



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                                   APPENDIX A: STATISTICAL ANALYSES
                                                                                                                                                      • Although not statistically significant, a larger share of attackers who experienced a persistent pattern of bullying
                                                                                                                                                        had bullying as a motive for carrying out the attack: Of the 20 attackers who experienced a persistent pattern of
Statistical tests revealed some significant diffe rences among the attackers on topics involving their amount of planning,
                                                                                                                                                        bullying, 12 (60%) had bullying as a motive, compared with one third who were not persistently bullied
co mmunication of threats, bullying experienced, target selection, motive , weapon used. and harm caused. Fi sher's exact
tests of independence and ch i-square tests of independence evaluated whether the re we re relations hips between two
                                                                                                                                                        (X'= 2 .44, p = .12)
dichotomous variables, with the appropriate test selected based on the number of cases within the subcategories (i.e. ,
cross-tabulations with fewer than five cases in a cell req uired Fisher's exact test). Computation oft tests fo r independent
samples co mpared averages of some continuous variables (i.e. , number of pl anning behaviors an d number of deaths)
across subsamples. All significance tests were two-tailed. The cutoff for statistical significance was an alpha level of .05;
however, Appendix A presents some statistically nor;.significant, but substantively meaningful , results. The results should
be interpreted with the understanding that students are only coded ·yes" when there is evidence of the presence of the
variab le, and that absence of evidence is not equivalent to evidence of absence of the variable .

                 Note: Due to the limited behavioral Information available for 6 of the attackers, only 35 cases were Included In                                                    Note: A/141 cases were Included In the statistical analys is for the following test.
                                              the statistical analysis for the following three tests.

                                                                                                                                                      • Nearly all attackers primarily motivated by a desire to kill targeted random victims: Six of the seven attackers (86%)
• Although not statistically significant, attackers who engaged In more planning behaviors caused harm to a greater
                                                                                                                                                        whose primary motive was a desire to kif( ta rgeted randomly (p < .01). Only two of the seven attackers (29%) primarily
     number of victims: Mass attacke rs averaged more than twice as many planning behaviors as attackers with fewer victims                             motivated by a desire to kill had specific ta rgets, compared with most individuals with a different motive
     [t (33)   = 1.98, p = .06].                                                                                                                        (n   = 29, 85%; p <   .01). Five of the ten attackers (50%) who only targeted random victims were primarily motivated by a
                                                                                                                                                        desire to kill (p < .01 ).

                                                                                                                                                                                          Table 4: Targe t Selection and Desire to Kill
                                                                                                                                                                                                                           Desire to kill was          Other Primary
                                                                                                                                                                                                                            Primary Motive                Motive
                                                                                                                                                                                        Random Target Selection
                                                                                                                                                                                                      IP < .011
                                                                                                                                                                                                     Yes (n = 16)                          6 (86%)                   10 (29%)
• Most attackers who targeted specific people had made a prior threat: About 90% of attackers who selected                                                                                            No (n   = 25)                        1 (14%1                   24 (71%)
 specific targets had made a threat prior to the attack (p = .01). Less t han 60% of attackers who targeted random                                                                                            Total                       7 (1 00%)                 34 (100%)
  individuals had made a threat in advance (p                 = .04).                                                                                                                   Specific Target Selection
                                                                                                                                                                                                        (p < .01)
                                                                                                                                                                                                     Yes (n   = 31)                        2(29%)                    29(85%)
                              Table 2: ThTeatenlng Communications and TaTget Selection                                                                                                               No (n- 10)                            5(71%)                     5(15%)
                                                                   Random Target Selection             Specific Target Selection                                                                              Total                       7(100%)                   34 (100%)
                                                                             (p= .04)                          (p= .01)
                                                                             Yes                 No            Yes                 No
                                                                        n (col.%)        n (col.%)        n (col.%)        n (col.%)                  • Incidents In which attackers used firearms were significantly more fatal than those Involving knives: While the
                                          Threat (n   = 27)             8 (57%)          19 (90%)        24 (89%)           3 (38%)                    majority of both types of attacks were nonfatal, nearly half of the firea rm attacks (n = 12, 48%) resulted in one or
                                        No Th reat (n = 8)              6 (43%)              2 (10%)      3 (11%)           5 (63%)                    more deaths, while only 2 of 16 knife attacks (13%) were fatal (p = .04).
                                                      Total         14 (100%)           2~   (100%)    27 (100%)          8 (100%)


                                                                                                                                                                                             Fatalities                        Fire ann                  Blade
                                                                                                                                                                                             Zero                                 13                      14
                                                                                                                                                                                             One                                  10
                                                                                                                                                                                             Two
                                                                                                                                                                                             Three
                                                                                                                                                                                             Four                                 1
                                                                                                                                                                                                               Total             25                       16
                                                                                                                                                                                                          Mean (SD)          0.68 (0.99)              0.13 (0.34)


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                  United States Secret Service                                                                                                              United States Secret Service
                  NATIONAL THREAT ASSESSMENT CENTER                                                                                                         NATIONAL THREAT ASSESSMENT CENTER



     APPENDIX 8: COMPARISON TO THE SAFE SCHOOL INITIATIVE
In 2002. the U.S. Secret Service's National Threat Assessment Center (NTAC) released the Safe School Initiative (SSI) ,
which examined 37 incidents of targeted violence in schools committed by 41 attackers between 197 4 and June 2000.
Released 17 years later, Protecting America's Schools. examines 41 incidents committed by 41 attackers between 2008                                                      W.eapons                         97% firearm; 3 % bladed;        61% firearms; 39% bladed:
and 2017 . In examining the major findings from both studies, a number of similarities were identified . In both studies ,                                                                                8% had additional weapons       7 o/o had additional weapons
                                                                                                                                                                                          Handguns        67% of 36 firearms attacks      72 % of 25 firearms arracks
there was no one profile of a school attacker and there were similar percentages of those with criminal histories, substance                                                             Long Guns        50% of 36 firearms attacks      36% of 25 firearms a tracks
abuse, types of mental hea lth symptoms, and histories of being bullied or bullying others. Additionally, the majority had                                                 Firearm from a residence       73% of 36 fireurms attacks      76% of 25 firearms auacks

experienced stressors, exhibited concerning behaviors, and made their intentions to attack known to others. In Protecting                               VIctims that were specifically targeted                          46%                             56%
America's Schools, however, the analysis delved deeper and identified additional factors that were not considered as part of
the original study, including, but not limited to, the types of stressors, ways in which the attackers were bullied , the breadth
of issues related to home life , the behaviors that elicited disciplinary action and their consequences. and various aspects
                                                                                                                                                        Gender, age, status                                     100% male: ages 1.1.·21          83% male: ages 1 2-18
of school dynamics.
                                                                                                                                                                                                                 95% current students            90% current students


The following table offers some of the statistics from the two studies, however, comparisons between the two should be
made only with caution as there were variations in research design and methodology, including variations of definitions,
availability of case information, and access to internet-powered research tools. For instance, 17 years ago, studying
targeted violence in K-12 schools was new and the method of identifying incidents would have been somewhat more
challenging as there were no databases of incidents or lists of attacks to consult. Further, in more recent years. more
attention has been focused on incidents of targeted violence , especially those affecting schools. Therefore , it is no surprise
                                                                                                                                                                                        Depression
                                                                                                                                                                      Suicidal thoughts or gestures
                                                                                                                                                                                  Suicide attempts
                                                                                                                                                                                                      I   78%
                                                                                                                                                                                                          ~0 "
                                                                                                                                                                                                                                          63 %
                                                                                                                                                                                                                                          11%
that similar numbers of incidents were found even though the timespan covered in the present study (10 years) is less
than half that of the SSI (26 years). These factors may have also impacted why the current study identified more attacks
than the SSI that were perpetrated using bladed weapons.


Given these caveats , the fo llowing table presents the statistics which are most comparable.



                                                                                                                                                                                           Positive   1 41%                               34%
                                                                                                                                                                                           Neutral        37"                             ~4 %

                                                                                                                                                                                          Negative        5"                              31%
                                                                                                                                                                                         Not found        ~ 7%                            20%




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                              United States Secret Service
                              NATIONAL THREAT ASSESSMENT CENTER



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       Secret Service, Deparunent of Homeland Security.
 2
      1t should be noted that homicides rarely occur at schools In the United States. During the 2015-2016 school year, the most recent year for which data Is available, about 1%
       of school-aged youth homicides in the United States occurred In a school selling; found In Musu, L, Zhang, A., Wang, K. Zhang, J.• & Oudekerk, B.A. {2019). Indicators of
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      Alli1Cks In the United Stares. U.S. Secret Service and U.S. Department of Education: Washington D.C.
  • A former student was dellned as a student who left the targeted school within lt1e previous year and no longer anended a K-12 school, or a student who was currently enroUed
       In any K-12 school and targeted a school he or she had previously attended. For example, while the perpetrator of the 2012 attack at an elementary school In Newtown, CT
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  ~ one attacK did not have clear inlormation available on the incident duration and W<JS categorized as ·unknown:
     0
   ' 0ne school-aged victim was not enrolled as a student at the school where the attack occurred. She w.3S enrolled in a different high school, and was attending prom at the

      targeted school at the time of the attack.
  " The status of one or the attackers Is unknown.
  " National Center for Injury Prevention and Control, CDC. (2017). 10 Leading causes or Death by Age Group. United States-2017. Retrieved October 19, 2019, from
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  ''For one Incident that Involved planning behaviors, the time span of the planning behavlor(s) was not available.
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Student lunch Image covrtesy: Ka/19/ Concepts/ Gelly. Class!oom Image courtesy: Skynesher; School Bulfdln!V'Getty, Pollee fine !mage courtesy: Carfbalfou/ Manufactured Obji!Ct/ Getty
L.atly jusl!cc Image courtesy: QuetbeevRcUonal Cl"!ilmer:ertGett~. Stud!lnl ot school entrarn::ll !ma&e CO\Jrtl!sy: Monl\eyt!vstness lmages/ Educatlonai/Geny. Bufl\llng lmaae courtesy: Fat~mero/HnmssmenVGiltrY
Troubllld student lrnoge cour1csy: rzuscii/Young AduUf Gctty, Student detention Image courtesy: LumiNolii/ EI/lnfclty/ Geny. Troubled ot !llUdcnt nt lockers lmnge couttasy: Josh BfnkcfHurnon Agcf Gatty


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             EXHIBIT "8"




                                  EXHIBIT 8
                                    0141
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                                                - E xpanded Homicide D at a Table 3




Home (https://ucr.fbi.gov) ·Crime in the U.S. (https://ucr.fbi.gov/crime-in-the-u.s) • 2018 (https://ucr.fbi.gov/crime-in-the-u .s/2018) ·Crime in the U.S. 2018 (https://ucr.fbi.gov/crime-in-the-
                                 • Tables (https://ucr. fbi.gov/crime-in-the-u.s/2018/crime-in-the-u .s.-2018/tables) • Expa nded Homicide Data Table 3




  Criminal Justice Information Services Division (https:l/www.fbi.gov/services/cjis)
  Feedback (https://forms.fbi.gov/cius-feedback-2018) I Contact Us (https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/topic-pages/contact-us) 1Data
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  Home (htt[!s ://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s .-2018/home).


  Offenses Known to Law Enforcement (htt[!s://ucr. fbi.gov/crime-in-the-u.s/2018/crime-i n-the-u.s.-2018/to[!iC-pJ!ges/offenses-known-to-law-enforcement)


  Vi alent Crime (htt[!s: //ucr. fbi .govI crime-in -th e-u .s/20 18/c rime-in-the-u .s. -20 18/to Ri c·pJ!ges/violent -crime).


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                                                                                                                                           by Age, Sex, Race , and Ethnicity, 20 18
   C lea ran ces (htt[!s ://ucr. fbi .g ov/cri me-in -the-u .s/2018/cri me-in -the-u.s. -20 18/to[! ic·pJ!ges/c lea ran ces ).


   Persons Arrested ( htt[!s ://u cr. fbi. gov/crime -in -the-u.s/2018/crime -in-the-u.s. -20 18/to[!ic·pJ!ges/[!erso ns-a rres ted).


   Police Em [!loyee Data (htt[!s ://u cr.fbi .g ov/crime-in -the-u .s/2 018/ crime-in -the-u.s .-201 8/to[!i c-pJ!ges/[!oli ce-em [!I oyee-d at a)

   Download Excel (https://ucr.fbi .gov/crime-in-the-u .s/20 18/crime-in-the-u .s .-20 18/tables/expanded-homicide-data-tab\e-3 .x\s/output.xls)


                                                                     Sex                                                Race                                                Ethnicity 1

                                                                                                              Black                                                              Not
                                                                                                           or African                                      Hispanic         Hispanic
  Age                                    Total        Male     Female           Unknown        White       American          Other 2        Unknown        or Latino        or Latino        Unknown

  Total                             16,335       10,306       1,443            4,586          4,884       6,318             312            4,821          1,576            6,021            8,375

     Percent distribution 3         100.0        63.1         8.8              28 .1          29.9        38.7              1.9            29.5           9.9              37.7             52.4

  Under 184                         920          827          92                              336         552               20             12             164              440              297

  Under 22'                         3,238        2,895        320                       23    1,210       1,896             63             69             471              1,593            1,094

  18 and over'                      10,316       8,921         1,331           64             4,478       5,360             290            188            1,377            5,333            3,389

  Infant (under 1)                  0            0             0                          0   0           0                 0              0              0                0                0

  1 to 4                                                       0                          0               0                 0              0              0                0


  5 to 8                                                                   0              0   0                             0                         0   0                0


  9 to 12                            8            7                                       0   6           2                            0              0   0                4                4


   13 to 16                          496          444          52                         0    182        291                13            10             90               230              165

   17 to 19                          1,479        1,329        145                        5   483          943               35            18             259              741              447

  20 to24                            2,254        1,979        268                        7    796         1,375             52            31             320              1,139            747


   25 to 29                          1,998        1,732        255                       11    748         1,163             46            41             281              1.026            649

   30 to 34                          1,440        1,224        206             10              654         704               53            29             207              742              468



                                                                                 EXHIBIT 8
   35 to 39                          1' 161       985          172                        4    584         527               36            14             160              595              380


                                                                                     0142
 https ://ucr.fbi .gov/crime-i n-the-u .s/20 18/cri me-in-the-u .s .-20 18/tab\es/expanded-homicide-data-tab\e-3 .xis                                                                                  1/2
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                                                    Expanded Homicide Data Table 3

                                                                   Sex                                             Race                                  Ethnicity1


                                                                                                           Black                                               Not
                                                                                                      or African                             Hispanic     Hispanic
      Age                               Total       Male      Female       Unknown        White       American        Other2   Unknown       or Latino   or Latino     Unknown

      40 to 44                         651        560        88                      3    318        301             23        9             79          358          203


      45 to 49                         495        422        68                      5    275        200              13       7             57          263          168

      50 to 54                         439        367        67                      5    247        169              14       9             39          227          158

----55-to59                            346        289        43                     14    183        137              5        21            21          182          133

      60 to 64                         186        166        20                       0   127        50               5        4             14          102          67

      65 to 69                         106        89          17                      0   75         24               5                  2   5           63           37

      70 to 74                         82         69          13                      0   67         11               4                  0   3           50           26

      75 and over                      93         84          8                           68         14               6        5             6           51           32


      Unknown                          5,099      558         20          4,521           70         406              2        4,621         35          248          4,689


          • 1 Not ail agencies provide ethnicity data; therefore, the race and ethnicity totals will not equal.
          •   2   Includes American Indian or Alaska Native, Asian, and Native Hawaiian or Other Pacific Islander.
          •   3   Because of rounding, the percentages may not add to 100.0.
          • 4 Does not Include unknown ages.




                                                                           EXHIBIT 8
                                                                                0143
     https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/tables/expanded-homlcide-data-table-3.xls                                                                  2/2
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                                               - E xpand·ed Homicide D ata Table 5




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u.s/201 8/crime-in-the-u.s.-2018) • Tables (https://ucr.fbi.                           8/crime-in -the-u.s.-2018/tables) • Expanded Homicide Data Table 5




   Criminal Justice Information Services Division (https://www.fbi.gov/services/cj is)
   Feedback (https ://forms.fbi.gov/cius-feedback-2018) I Contact Us (https://ucr.fbi.gov/crime-in -the-u.s/2018/crime-in-the-u.s. -2018/topic-pages/contact-us) 1 Data
   Quality Guidelines (https://ucr.fbi.gov/data-quality-guidelines-new) I UCR Home (https://ucr.fbi.gov/)

   Home (httRS :1/ucr.fbi.gov/crime-in -the-u .s/2018/crime-in-the-u.s .-2018/home).


   Offenses Known to Law Enforcement (httRs://ucr.fbi .gov/crime -in-the -u.s/2018/crime-in-the-u .s.-2018/toRic-p_sges/offenses-known-to-law-enforcement)


   Violent Crime (httRS :1/ucr.fbi.gov/crime-in-the-u .s/2018/crime-in -the-u .s.-2018/toRic-p_sges/violent-crime ).


   ProRerty Crime (httRS :1/ucr.fbi.gov/crime-i n -the-u.s/2018/crime-in-the-u .s .-2018/toRic-p_sges/RrORerty-crime)                       Murder
                                                                                                                                            Age of V ictim by A ge of Offen der, 2018
   Clearances (httRs://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u .s.-2018/toRic-p_sges/clearances ). [Single victim/sin g le offende r]


   Persons Arrested (ht!RS :1/ucr.fbi. gov/ crime-in -the-u .s/20 18/crime-in-the-u.s .-20 18/to Ric-p_sges/Re rso ns -arrested)


   Police Em Rloyee Data (httRS :// u cr. fbi .g ov Icrime-in -the-u .s/20 18/ crime-in-the-u.s .-20 18/toRi c-p_sges/Rolice-em Rloyee-data)

    Download Excel (https://ucr.fbi .gov/crim e-in -th e-u .s/2018/crim e-in-th e-u .s. -20 18/tables/expanded-hom icide-d ata-ta ble-5.xls/output.xls)


                                                                                                                                       Age of offender


  Age of victim                                                 Total                          Under18                                   18 and over                                   Unknown

  Total                                                 6,570                     302                                     6,031                                           237

  Under 18                                              515                       94                                      412                                                                               9

   18 and over                                          6,003                     206                                     5,575                                            222

  Unknown                                               52                         2                                      44                                               6


      • NOTE : This table is based on incidents where some information about the offe nder is known by law enforcement; therefore, when the offender age, sex , and race are all
          reported as unknown, these data are excluded from the table.


    Data Declaration (https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-
    u.s.-2018/tables/expanded-homicide-data-table-5.xls/@@template-layout-view?override-
    view=data-declaration)
    Provides the methodology used in constructing this tabl e and other pertinent information about this table.


    Overview




                                                                                     EXHIBIT 8
                                                                                         0144
 https:/ /ucr.fbi .gov/crim e- in-t he-u .s/2018/crim e-i n-th e-u .s .-20 18/tables/expand ed- hom ic id e-data-ta ble-5 .xis                                                                              1/1
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                                               - Expanded    11/12/19 PageID.4693 Page 42 of 50
                                                          H omic ide Data Ta ble 6




Home (https://ucr.fbi.gov) ·Crime in the U.S. (https ://ucr.fbi.gov/crime-in-the-u.s) • 2018 (https://ucr.fbi.gov/crime-in-the-u.s/2018) • Crime in the U.S. 2018 (https://ucr.fbi.gov/crime-in-the-
u.s/201 8/crime-in-the-u.s.-201 ·Tables                                                                             I               Homicide Data Table 6




  Crimina l Justice Information Services Division (https://www.fbi.gov/services/cjis)
  Feedback (https ://forms.fbi.gov/cius-feedback-2018) I Contact Us (https://ucr.fbi.gov/crime-in-t he-u.s/2018/crime-in-the-u.s.-2018/topic-pages/contact-us) 1 Data
  Quality Guidelines (https://ucr.fbi.gov/data-quality-guidelines-new) I UCR Home (https://ucr.fbi .gov/)

  Home (httP.S :1/ucr.fbi.gov/crime-in -the-u .s/2018/crime-in-the-u.s .-2018/home)


  Offenses Known to Law Enforcement (httP.s://ucr. fbi .gov/crime-in-the-u .s/2018/crime-in-the-u.s.-2018/toP.ic-p~ges/offenses-known-to-law-enforcement)


  Via lent Crime ( ht!P.S ://ucr. fbi .gov Ic rime-in-the -u .s/2 01 8/ crime-in -the-u.s . -2018/toP.ic-p~ges/vio lent-crime)


   ProJlerly Crime (ht!Jls :1/ucr.fbi.gov/crime-i n-the-u.s/2018/crime-in-the-u .s.-2018/toP.ic-p~ges/JlrOP.erty-crime ).                 Murder
                                                                                                                                          Race, Sex, and Etnnicity of Victi m by Race ,
  Clearances (httP.s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/toP.ic-Jlages/clearances) Sex, and Ethn icity of Offender, 2.018
              -                                                                    --                    · [S ingle victim/single offender]

   Persons Arrested (ht!P.S ://u cr. fbi .gov/crime-in -the-u. s/20 18/crime -in-the-u .s. -2018/toP. ic-p~ges/Jlerso ns-arrested).


   Police EmJlloyee Data (httP.s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/toP.ic·p~ges/Jlolice-emJlloyee-data)

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                                                                         Race of offender                                  Sex of offender                               Ethnicity of offender

                                                                      Black or                                                                                                         Not
                                                                      African                                                                                Hispanic            Hispanic
  Race of victim                          Total       White       American         Other1       ·Unknown         Male        Female        Unknown           or Latino           or Latino          Unknown

  White                                 3,315         2,677       514              61           63              2,914      383            18                 803                1,476               1,036

  Black or African American             2,925         234         2,600            17           74              2,603      291            31                 83                 1,878               964

  Other race 1                          220           54          39               122          5               196         22            2                  19                 132                 69

  Unknown race                           110          46          24               7            33              100         9                                18                 40                  52

                                                                          Race of offender                                 Sex of offender                                   Ethnicity of offender

                                                                      Black or                                                                                                         Not
                                                                       African                                                                                   Hispanic            Hispanic
  Sex of victim                            Total      White        American         Other1          Unknown       Male          Female         Unknown           or Latino           or Latino          Unknown

  Male                                   4,639        1,942       2,430            133          134             4,073       521           45                 675                2,487               1,477

  Female                                 1,921        1,064       745              72           40              1,731       184            6                 245                 1,036              640

  Unknown sex                            10           5           2                2                            9           0                                3                   3                  4

                                                                          Race of offender                                  Sex of offender                                  Ethnicity of offender

                                                                      Black or                                                                                                          Not
                                                                       African                                                                                   Hispanic            Hispanic
  Ethnicity of victim                         Total    White          American         Other1       Unknown         Male        Female         Unknown           or Latino           or Latino          Unknown

  Hispanic or Latino                           957          772              143           17             25          63            888                  6              655                   213             89


                                                                               EXHIBIT 8
https :1/ucr.fbi .gov/cri me-in-the-u .s/20 18/crime-in-the-u .s .-20 18/tables/expa0145
                                                                                    nded-hom icide-data-table-6 .xis                                                                                              1/2
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                                                       Expanded   11/12/19
                                                                Homicide          PageID.4694
                                                                         Data Table 6         Page 43 of 50
                                                                      Race of offender                            Sex of offender                Ethnicity of offender

                                                                  Black or                                                                                 Not
                                                                   African                                                               Hispanic     Hispanic
          Race of victim                      Total   White      American       Other1      Unknown       Male        Female   Unknown   or Latino    or Latino     Unknown

          Not Hispanic or Latino            4,284     1,685     2,357           148        94            493          3,751    40        231         3,193         860

          Unknown                           1,329     554       677             42         56            149          1,174    6         37          120           1,172


             •   1 Includes American Indian or Alaska Native, Asian, and Native Hawaiian or Other Pacific Islander.
-----•-NOTE: This table is based on incidents where some information about the offender is known by law enforcement; therefore, when the offender age, sex, race, and
                 ethnicity are all reported as unknown, these data are excluded from the table.




                                                                                EXHIBIT 8
                                                                                    0146
         https://ucr.fbi.gov/crime-ln-the-u.s/2018/crlme-in-the-u.s.-2018/tables/expanded-homicide-data-table-6.xls                                                           2/2
          Case 3:19-cv-01226-L-AHG DocumentFBI-
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                                           21-22     Filed 11/12/19 PageID.4695 Page 44 of 50
                                                Expa nded Homicide Data Table 8




Home {https:l/ucr.fbi.gov) ·Crime in the U.S. (https:l/ucr.fbi.gov/crime-in-the-u .s) • 2018 (https://ucr.fbi.gov/crime-in-the-u .s/2018) · Crime in the U.S. 2018 (https://ucr.fbi.gov/crime-in-the-
u.s/201 8/crime-in-the-u.s.-201 ·Tables                                       .s/2018/crime-in-the-u.s.-2018/tables) •               Homicide Data Table 8




  Crimina l Justice Information Services Division (https://www.fbi.gov/services/cjis)
  Feedback (https :1/forms.fbi.gov/cius-feedback-2018) I Contact Us (https://ucr.fbi.gov/crime-in -the-u.s/2018/crime-in-the-u.s.-2018/topic-pages/contact-us) 1Data
  Quality Guidelines (https://ucr.fbi.gov/data-quality-guidelines-new) 1 UCR Home (https://ucr.fbi.gov/)

   Home (htt[!s ://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/home).


   Offenses Known to Law Enforcement (htt[!s://ucr.fbi .gov/crime-in-the-u.s/2018/cri me-in-the-u.s .-2018/to[!iC-p...!!.ges/offenses-known-to-law-enforcement)


   Violent Crime (htt[!s://ucr. fbi.gov/crime-i n -the-u .s/2018/crime-in-the-u .s.-2018/to[!iC·p...!!.ges/violent-crime).


   Pro[!erty Crime (htt[!s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in·the-u.s.-2018/toRic-p...!!.ges/RroRerty-crime).                  Murder Victims
                                                                                                                                         by Wea pon , 201 4-2018
   C lea ranees (htt[!s ://u cr. fbi. gov/ crime-in -the-u .s/20 18/crime-in-the-u.s .-20 18/toRic·p...!!.ges/clea ran ces ).


   Persons Arrested (htt[!s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/to[!iC-p...!!.ges/[!ersons-arrested).


   Police Em[!loyee Data (htt[!s://ucr.fbi .gov/crime-in-the-u.s/2018/crime·in·the-u.s.-2018/to[!iC-P.1!.9eS/[!olice-em[!loyee-data)

    Download Excel (https://ucr.fbi .gov/crime-in-the-u.s/2018/crime-in-the-u.s .-2018/tables/expanded-homicide-data-tab le-8.x ls/output.xls)


  Weapons                                                                                                  2014                 2015                 2016                  2017                 2018

  Total                                                                                                        12,278               13,780               15,318                15,195               14,123

  Tota l fi rearms:                                                                                              7,803                9,103              10,372                11,006               10,265

     Handguns                                                                                                    5,342                6,176                6,762                7,051                   6 603

     Rifles                                                                                                        235                  215                  300                   390                   297


     Shotguns                                                                                                      238                  247                  247                   264                   235


     Other gtJns                                                                                                     88                 151                  172                   180                   167

     Firearms, type not stated                                                                                    1,900                2,314                2,891                 3,121                 2,963

   Knives or cutting instruments                                                                                  1,545                1,525                1,558                 1,609                 1,51 5


   Blunt objects {clubs, hamme rs, etc.)                                                                           431                  436                  464                   472                    443

   Personal weapons (hands, fists, feet , etc.) 1                                                                  668                  647                   664                  710                    672


   Poison                                                                                                             9                    8                   12                    15                     5


   Explosives                                                                                                         6                                                               0                     4


   Fire                                                                                                              55                   63                   78                    96                    72


   Narcotics                                                                                                         70                   69                  118                   110                    78


   Drowning                                                                                                          12                   12                     9                    8                      9


   Strangulation                                                                                                     84                   96                   97                    89                    70


   Asphyxiation                                                                                                      93                  105                   92                   111                    90
                                                                              EXHIBIT 8
                                                                                   0147
 https://ucr.fbi .gov/crime-i n-the-u .s/20 18/crime-in-the-u .s. -20 18/tables/expanded-homicide-data-table-8 .xis                                                                                          1/2
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                                                 -Expanded Homicide Data Table 8

 Weapons                                                                                 2014              2015              2016              2017              2018

 Other weapons or weapons not stated                                                          1,502             1,715            1,853                969                 900


    •   1   Pushed is included in personal weapons.
    • NOTE: The Uniform Crime Reporting Technical Refresh enables updating of prior years' crime data; therefore, data presented in this table may not match previously
        published data.




                                                                        EXHIBIT 8
                                                                             0148
 https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-ln-the-u.s.-2018/tables/expanded-homicide-data-table-8.xls                                                                     2/2
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Home (https://ucr.fbi.gov) • Crime in the U.S. (https://ucr.fbi.gov/crime-in-the-u.s) • 2018 (https://ucr.fbi.gov/crime-in-th e-u .s/2018) • Crime in the U.S. 2018 (https://ucr.fbi.gov/crime-in-the-
u.s/2018/crime-in-the-u           ·Tables (https://ucr. i                                                                             Homicide Data Table 9




  Crimina l Justice Information Serv1ces Division (https://www.fbLgov/services/cjis)
  Feedback (https ://forms.fbi.gov/cius -feedback-2 018) I Contact Us (https :1/ucr.fbLgov/cri me-in -the-u .s/2018/crime-in-the-u.s .-20 18/topic-pages/contact-us) 1 Data
  Quality Guide lines (https://ucr.fbLgov/data-quality-guidelines-new) I UCR Home (https://ucr.fbLgov/)

  Home (httP-s://ucr.fbi .gov/crime-in -the-u .s/2018/crime-in-the-u.s .-2018/home)


   Offenses Known to Law Enforcement (httP-s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/toP-iC-pJ!.ges/offenses-known-to-law-enforcement)


   Violent Crime (httP-s://ucr.fbi.gov/crime-in-the-u .s/2018/crime-in-the-u .s.-2018/toP-iC-pJ!.ges/violent-crime). """L..U.J..oi


   Pror:1erty Crime (httP-s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/toRic·pJ!.gesiP-rOP-erty-crime).                      Murder Victims by A'ge
                                                                                                                                             by Weapon, 2.Q1,8
   Clearances (httRS: //u cr.fbi .g ov/ crime-in -the -u .s/2018/crime-i n -the-u .s.-20 18/to RiC·pJ!.ges/cleara n ces ).


   Persons Arrested (httP-s ://ucr. fbi. gov/crime-i n -the-u. s/2018/ crime-in-the -u .s.-20 18/toP-ic-pJ!.gesil'!e rso ns -arrested).


   Police EmP-loyee Data (httP-s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/toP-iC-pJ!.gesiP-olice-emP-Ioyee-data)

    Download Excel (https://ucr. fbi .gov/crime-in-the-u.s/2018/crime-in-the-u .s. -20 18/tables/expanded-homicide-data-table-9.xls/output.x ls)


                                                                                                                    Weapons

                                                                                       Personal                                                                                                      Other
                                                                         Blunt         weapons                                                                                                     weapon
                                                                         objects        (hands ,                                                                                                         or
                         Total                      Knives or            (clubs,         fists,                                                                                                    weapon
                       murder                           cutting      hammers,               feet,                                                                                                        not
  Age                  victims      Firearms      instruments              etc.)         etc.) 1         Poison    Explosives     Fire        Narcotics    Strangulation       Asphyxiation         stated 2

  Total                14,123       10,265        1,515              443               672                     5             4       72             78     70                  90                  909

     Percent
     distribution3      100.0       72.7          10.7               3.1               4.8               0.0               0.0       0.5            0.6    0.5                 0.6                 6.4

  Under 184             1,1 26      648           53                 42                202                     0             2         5              8    2                   9                    155

  Under 22 4            2,819       2,131          155               55                213                                   2        11             13    11                   12                  215

   18 and over4         12,855      9,560          1,453             395               452                     5             2       61              68    68                   77                  714

   Infant (under 1)     137         8             2                  9                 74                      0             0         0                                        2                   40

   1 to 4               255         42            8                  25                99                      0                       2              5                                             71

   5 to 8               76          37             5                               3                17         0             0         0              0    0                    2                   12

   9 to 12              60          42             3                 0                               5         0             0                                             0    2                   6

   13 to 16             319         269            24                2                               7         0             0           2            0                    0    0                   15

   17 to 19             1,107       972            66                9                               6         0                         2            6                    3    3                   39

   20 to 24             2,199       1,908          140               14                19                                    0           7           11    9                    10                  80


                                                                                             EXHIBIT 8
                                                                                               0149
 https://ucr.fbi .gov/crime-i n-th e-u .s/20 18/crime-in-the-u .s. -20 18/tables/expanded -hom icide-data-table-9 .xis                                                                                         1/2
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                                                          Homicide         PageID.4698
                                                                   Data Table 9        Page 47 of 50
                                                                                                    Weapons

                                                                           Personal                                                                                   Other
                                                                 Blunt     weapons                                                                                    weapon
                                                              objects      (hands,                                                                                         or
                        Total                  Knives or      (clubs,           fists,                                                                                weapon
                       murder                      cutting   hammers,           feet,                                                                                      not
 Age                   victims    Firearms   instruments          etc.)         etc.) 1   Poison   Explosives   Fire       Narcotics   Strangulation   Asphyxiation   stated 2

  25 to 29             2,239      1,827      220             22            39                  0            0       5             15   9               10             92

  30 to 34             1,721      1,391       160            28            31                  0            0       5             13   10              6              77

  35 to 39              1,441     1,100       156            24            45                  0                    4              5   8               7              91

  40 to 44              1,018     758         125            30            42                  0            0       6              4               4   4              45

  45 to 49              820       559         101            35            44                  0            0       3              5   6               5              62

  50 to 54              717       410         150            43            56                               0       4              2               4                  46

  55 to 59              651       354         110            52            51                               0       4              2               5   7              65

  60 to 64              423       197         91             40            38                  2            0          5                           4   8              37

  65 to 69              316       136         63             44            24                  0                       3               2               4              38

  70 to 74              189       95          35             24            12                  0            0          3           3                   3                         13

  75 and over           293       103         47             33            45                  0            0      10                              3   11             40

  Unknown               142       57          9              6             18                  0            0          6           2               0   4              40


      • 1 Pushed is included in personal weapons.
      • 2 Includes drowning.
      •   3   Because of rounding, the percentages may not add to 100.0.
      • 4 Does not include unknown ages.




                                                                                 EXHIBIT 8
                                                                                      0150
 https :1/ucr. fbi. govI crime-in-the-u. s/20 18/cri me-in-the-u.s. -20 18/tab las/expand ad-homicide-data -table-9 .xis                                                          2/2
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           Case 3:19-cv-01226-L-AHG Document 21-22 FBI-
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Home (https://ucr.fbi.gov) · Crime in the U.S. (https ://ucr. fbi.gov/crime-in-the-u.s) • 2018 (https://ucr.fbi.gov/crime-in-the-u.s/2018) · Crime in the U.S. 20 18 (https://ucr.fbi.gov/crime-in-the-
u.s/2018/crime-in-the-u .s.-201 · Tables                                                                                 ·Table 20




  Criminal Justice Information Services Division (https://www.fbi.gov/services/cjis)
  Feedback (https://forms.fbi.gov/cius-feedback-2018) I Contact Us (https ://ucr.fbi.gov/crime-in-the-u .s/2018/crime-in-the-u.s.-2018/topic-pages/contact-us) 1 Data
  Quality Guidelines (https://ucr.fbi .gov/data -quality-guidelines-new) I UCR Home (https://ucr.fbi.gov/)

  Home (htti)S ://ucr.fbi.gov/cri me-in-the-u.s/2018/crime-in-the-u.s.-201 B/home).


  Offenses Known to Law Enforcement (htt11s :1/ucr.fbi.gov/cri me-in-the-u .s/201 Bieri me-in-the-u.s.-2018/tol)iC·P...i!ges/offenses-known -to-law-enforcement)


  Violent Crime (httl)s://ucr.fbi.gov/crime·i n -the-u .s/201 B/crime-in-the-u .s .-201 8/tol)iC·P...i!ges/violent-crime).
                                                                                                                                           Murder
   ProP.erty Crime (httl)s ://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in·the-u.s.-2018/tol)ic·p.1!ges/f1rOf1erly-crime). by State, Types of W eapons , 20 18


   Clearances (htti)S ://u cr. fbi .gov/cri me-in -the-u .s/2018/crime· i n -the-u.s. -20 18/tol) ic-p_gg es/cleara n ces ).


   Persons Arrested (httl)s :1/u cr.fbi .gov/crime-i n-the-u.s/20 18/crime-in -the-u.s. -20 1B/to11 ic-p_gges/11e rsons -arrested).


   Police Em11loyee Data (httl)s://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-201 B/tol)iC·P...i!ges/l)olice-eml)loyee-data)

    Data Declarat1on (https://ucr.fbi .gov/crime-in-the-u .s/20 18/crime-in-th e-u .s .-20 18/tables/table-20/table-20 .xls/@@tem plate-layout-view? override-view=d ata-
    declaration)

    Download Excel (https://ucr.fbi .gov/crime-in-th e-u .s/201 8/crim e-in-th e-u .s .-20 18/tables/table-20/table-20 .xls/output.xls)


                                                                                                                                Firearms             Knives Qr
                                       Total              Total                                                                  (type                cutting               Other             Hands, fists,
  State                              murders 1         firearms             Handguns        Rifl'es          Shotguns           unknown)            instruments         weapo ns               feet, etc. 2

  Alabama3                                       2                 2    2                  0            0                   0                   0                                    0                        0

  Alaska                                        47                31    7                  3            0                   21                  8                                    3                        5

  Arizona                                      339             203      139                12           6                                  46   45                                  87                        4

  Arkansas                                     218             156      66                 6            5                                  79   17                                  38                         7

  California                                1,739            1,177      834                24           27                               292    252                                 223                       87

  C olorado                                    207                147   99                 2            8                                  38   27                                   13                       20

  Connecticu t                                  83                 54   10                  2            0                                 42   18                                    9                        2

   Delaware                                     48                40    14                               2                                 23   4                                     3

   District of Columbia                        151                120   120                 0            0                                  0   20                                    7                        4

   G eorgia                                    568                460   410                 11           10                 29                  44                     62                 2

   H awaii                                      33                 11   6                                0                  4                   10                     6                  6


   Idaho                                        32                 19   14                  2            2                                      4                                     8


   lllinois3                                   864                708   592                 14           4                                 98   77                                   53   26


   Indiana                                     371                294   136                 10           7                               141    33                                   29                       15

                                                                                           EXHIBIT 8
 https://ucr.fbi .gov/crime- in-th e-u .s/20 18/crim e-in-the-u .s .-20 18/tables/table-20   0151                                                                                                              1/3
             Case
     11/11/2019         3:19-cv-01226-L-AHG Document 21-22 Filed 11/12/19 PageID.4700 Page 49 of 50
                                                           FBI- Table 20

                                                                                                         Firearms             Knives or
                                 Total          Total                                                     (type                cutting          Other             Hands, fists,
      State                    murders 1       firearms           Handguns   Rifles       Shotguns       unknown)            Instruments    weapons                feet, etc.2

      lowa 4                              43            20    6              2        2                            10    8                               9    6

      Kansas                             110            78    47             0        2              29                  7                 19                 6

      Kentucky                           237         179      112            12       6              49                  17                32                                     9

      Louisiana                          521         436      233            12       5                           186    30                             44                        11
-----Maine--                              23            11    6              0                       4                   2                               6                        4
                 1
      Maryland                           470         388      345                     10                          32     39                             30                        13

       Massachusetts                     136            93    37             0                                      55   25                             13                         5

       Michigan                          550         394      166            17       11                          200    31                             99                        26

       Minnesota                         104            49    36             4        0                              9   16                             28                        11

       Mississippi                       142         118      99             3        2                             14   7                              15                         2

       Missouri                          555         473      235            16       9                           213    40                             32                        10

       Montana                            34            17    9              3        0              5                   2                              12    3

       Nebraska                           43            26    22             0                                       3   5                               9    3

       Nevada                            201         134      46                                                    86   23                             24                        20

       New Hampshire                      21            12    6              0        0              6                   3                               4                         2

       New Jersey                        286         202      152            0        2                            48    37                             28                        19

       New Mexico                        137            87    39             3        0                            45    23                             22                         5

       New York                          546        313       254            6        10                           43    124                            63                        46

       North Carolina                    479        346       231            15       16                            84   44                             52                        37

       North Dakota                       16              9   8              0        0                                                                       5

      Ohio                               546        383       184            3        7                           189    49                             87                        27

       Oklahoma                          202         134      95             7        3                             29   28                             29                        11

       Oregon                             81            48    30             3                                      14   12                              18                        3

       Pennsylvania                      787        580       464            17       7                             92   83                             99                        25

       Rhode Island                       16            12                                                           9 2

       South Carolina                    386        296       188            8        6                             94   29                             42                        19

      South Dakota                        13              8   5              0        0              3                   4                                                         0

      Tennessee                          496        397       245            26       8                           118    28                             49                        22

      Texas                         1,301           956       522            33       37                          364    128                            133                       84

       Utah                               59            28    17                      0                             10   12                              10                        9

      Vermont                             10              3   3              0        0              0                   0                 5                                       2

      Virginia                           391        297       141            8        5                           143    30                             49                        15

      Washington                         232        138       76             2        5                             55   45                             35                        14
                                                                             EXHIBIT 8
                                                                                  0152
     https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/tables/table-20                                                                                              2/3
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                                                                                                                 Firearms             Knives or
                                       Total             Total                                                    (type                cutting      Other        Hands, fists,
  State                              murders 1         firearms           Handguns   Rifles       Shotguns       unknown)            instruments   weapons        feet, etc. 2

  West Virginia                                57                34   21                                                    11   5                          14                   4

  Wisconsin                                    178              136   67             4        2                             63   15                         16                   11

  Wyoming                                       12                8   6              0        2              0                   2                           0                    2


     •    1 Total number of murders for which supplemental homicide data were received.
      2 P,ushed
_ __,._               Is included in hands, fists, feet, etc.
     •    3   Limited supplemental homicide data were received.
     •    4   Limited data for 2018 were available for Iowa.


    Data Declaration (https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-
    u.s.-2018/tables/table-20/table-20.xls/@@template-layout-view?override-view=data-
    declaration)
    Provides the methodology used In constructing this table and other pertinent information about this table.




                                                                                     EXHIBIT 8
                                                                             0153
 https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/tables/table-20                                                                                                     3/3
